                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE


          GLOBAL FORCE
          ENTERTAINMENT, INC. and
          JEFFREY JARRETT

                                             CIVIL ACTION NO.3:18-cv-00749
          Plaintiffs/Counter-Defendants,
                                             CHIEF JUDGE CRENSHAW
          v.
                                             MAGISTRATE JUDGE JOE BROWN

          ANTHEM WRESTLING                   JURY DEMAND
          EXHIBITIONS, LLC,
          Defendant/Counterclaim-Plaintiff

                         .........................

                DEPOSITION of SCOTT D’AMORE, a witness in the above-
          noted action, taken before Sharon L. Masse, in her Chambers
          at 267 Pelissier Street, Eighth Floor, Windsor, Ontario,
          and taken by electronic recording by Sandy L. Breitenstein,
          Court Reporter, on the 18th day of December, 2019.
                         .........................

          A P P E A R A N C E S :

          Mr. Samuel F. Miller:               Counsel for the Plaintiffs/
          Ms. Hayley Baker:                           Counter-Defendants,
                                                      via teleconference.

          Mr. Ryan A. Lee:                     Counsel for the Defendant/
                                                  Counterclaim-Plaintiff,
                                                      via teleconference.

          Mr. Steven Pickard:                     Counsel for the Witness.


                         .........................




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                                 UNDERTAKINGS

                                    and/or

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          There were no undertakings and/or requests given

          during this examination.

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  E. & O.E.

  PLEASE NOTE:

  The list of undertakings and refusals, and those taken under

  advisement, is provided only as a service to counsel and does

  not purport to be complete or binding upon the parties herein.




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    1     SCOTT D’AMORE, SWORN, SAID:

    2     EXAMINED BY MR. MILLER:

    3     Q.      Alright.    Mr. D’Amore, my name is Sam Miller.         I

    4     represent Global Force Entertainment, Inc. and

    5     Mr. Jarrett.     You have been noticed in the deposition of

    6     this case today of Global Force Entertainment, Inc. and

    7     Jeffrey Jarrett versus Anthem Wrestling Exhibitions, LLC,

    8     in the United States District Court for the Middle

    9     District of Tennessee.       Have you ever been deposed before

   10     under U.S. law?

   11     A.      No.

   12     Q.      Okay.   During the deposition today, I will be

   13     asking you questions under penalty of perjury under U.S.

   14     law, and your job today is to answer those questions.               We

   15     ask that you be as honest as you can because you are

   16     under oath, and the court reporter next to you is

   17     recording everything you say.        This is likely my only

   18     opportunity to ask you questions before trial, so it is

   19     important that you answer my questions fully and

   20     truthfully.     Do you understand that?

   21     A.      Yes.

   22     Q.      Mr. D’Amore, I want to make sure there’s not a lag

   23     and I appreciate you pausing to give an opportunity for

   24     your counsel to respond.         Unfortunately, I am unable to

   25     see you due to the fact of your counsel’s objection to

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    1     using Skype technology.        Can you confirm for me that you

    2     are not asking or receiving any indications from your

    3     counsel as to how to answer questions today?

    4     A.      Correct.

    5     Q.      Alright.    As the court reporter indicated, you’ll

    6     need to answer orally because if you say mm-hmm or uh-uh,

    7     it can and may be misunderstood by the court reporter.

    8     Do you understand that?

    9     A.      Yes.

   10     Q.      If you do not understand a question today, will

   11     you tell me?

   12     A.      Yes.

   13     Q.      If you don’t hear a question today, will you tell

   14     me?

   15     A.      Yes.

   16     Q.      If a question today is confusing, will you tell

   17     me?

   18     A.      Yes.

   19     Q.      If you answer a question today, we’re going to

   20     understand that to mean that you heard and understood the

   21     question.      Is that okay?

   22     A.      Sorry, repeat that, please.

   23     Q.      If you answer a question today, it will mean that

   24     you heard it and understood it.        Is that okay?

   25     MR. PICKARD:         Well, hold on counsel.      I’m going to

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    1     object to that.     You’re asking him to state that if

    2     there’s any misunderstanding, that the misunderstanding

    3     falls on your interpretation of the question and we’re

    4     not agreeing to that.

    5     MR. MILLER:        Alright.       Well, counsel, I’d ask you to

    6     refrain from speaking objections.         This deposition is

    7     being taken pursuant to U.S. law, and this particular

    8     court does not allow objections other than the words

    9     objection to form.      So if you would please refrain from

   10     long-speaking objections, we would appreciate that.

   11     MR. PICKARD:        Okay.

   12     Q.      If you want to speak with your attorney today,

   13     well, we’ll take that back.         Is there anything about your

   14     physical, mental, or emotional condition today that will

   15     not allow you to understand my question?

   16     A.      No.

   17     Q.      If that changes, will you tell me?

   18     A.      Yes.

   19     Q.      Is there anything about your physical, mental, or

   20     emotional condition today that will not allow you to

   21     answer my questions fully and completely?

   22     A.      No.

   23     Q.      If that changes, will you tell me?

   24     A.      Yes.

   25     Q.      Is there anything about your physical, mental, or

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    1     emotional condition today that would not allow you to

    2     answer my questions honestly?

    3     A.       No.

    4     Q.       If that changes, will you tell me?

    5     A.       Yes.

    6     Q.       Are you taking any medications or drugs of any

    7     kind that might make it difficult for you to understand

    8     and answer my questions fully, completely, and honestly

    9     today?

   10     A.       No.

   11     Q.       Have you had anything alcoholic to drink in the

   12     last eight hours?

   13     A.       No.

   14     Q.       Have you reviewed any documents in preparation for

   15     your deposition today?

   16     A.       No.

   17     Q.       How long did you spend preparing for your

   18     deposition today?

   19     A.       Zero.   I have nothing to prepare.

   20     Q.       Who have you spoken with, if anyone, in

   21     preparation for this deposition?

   22     A.       Mr. Pickard.

   23     MR. LEE:         Objection.

   24     Q.       Sure.   I’m not asking for what your counsel said.

   25     I’m asking who you’ve spoken with, which is not

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    1     priviledged.

    2     A.       Mr. Pickard.

    3     Q.       Okay, anyone else?

    4     A.       No.

    5     Q.       Have you spoken with Mr. Asper regarding your

    6     deposition today?

    7     A.       No.

    8     Q.       Have you spoken with Mr. Nordholm?

    9     MR. MILLER:        N-O-R-D-H-O-L-M.

   10     A.       I informed Mr. Nordholm I would be being deposed

   11     today.

   12     Q.       What, if anything, did he say to you when you

   13     informed him that you were being deposed?

   14     A.       He was happy to hear that I was going to agree to

   15     be deposed.

   16     Q.       How do you know that he was happy to hear that you

   17     were agreeing to be deposed?

   18     A.       Because he said he was glad to hear that I was

   19     going to be deposed.

   20     Q.       Have you ever been convicted of a crime other than

   21     a minor traffic violation?

   22     A.       Sorry, please repeat the question.

   23     Q.       Have you ever been convicted of a crime besides a

   24     minor traffic violation?

   25     A.       No.

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    1     Q.      What, if any, e-mail addresses have you used in

    2     connection with your work with Anthem Wrestling

    3     Exhibitions?

    4     A.      Please repeat the question.

    5     Q.      Sure.    Let me take a step back.       Are you familiar

    6     with a company known as Anthem Wrestling Exhibitions,

    7     LLC?

    8     A.      Yes.

    9     Q.      For purposes of our deposition today, I’m going to

   10     refer to Anthem Wrestling Exhibitions, LLC as Anthem

   11     Wrestling.      Is that okay?

   12     A.      Yes.

   13     Q.      What e-mail address do you have, if any, for your

   14     work with Anthem Wrestling?

   15     A.      sdamore@impactwrestling.com.

   16     Q.      Alright.    Are you currently employed?

   17     A.      Please repeat the question.

   18     Q.      Are you currently employed?

   19     A.      Currently, I receive compensation as an employee

   20     from the estate of Patrick D’Amore.

   21     Q.      What is your relationship, if any, with Anthem

   22     Wrestling?

   23     A.      Please repeat the question.

   24     Q.      Are you able to hear me okay?

   25     A.      Yes.

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    1     Q.      What relationship, if any, do you have with Anthem

    2     Wrestling?

    3     A.      I provide services under contract.

    4     Q.      How long have you provided services under contract

    5     to Anthem Wrestling?

    6     A.      I’d have to look it up.

    7     Q.      Based on your best guess, how long?

    8     A.      I think it’d be effective, probably January 1st,

    9     2018 for those services under contract.          Previous to

   10     that, and I said–- as I said, subject to checking the

   11     actual date.     But previous to that, I would have been

   12     providing services for Anthem Wrestling in a non-contract

   13     relationship.     Would have started that first part of

   14     2017, I believe.

   15     Q.      What services did you provide to Anthem Wrestling

   16     in 2017?

   17     A.      Sorry, please repeat that.

   18     Q.      What services did you provide to Anthem Wrestling

   19     in 2017?

   20     A.      Consulting services.

   21     Q.      What type of consulting services?

   22     A.      Watched and sat in on their business operations

   23     and gave them my thoughts on what they were doing, how

   24     they were doing it.

   25     Q.      How much were you paid by Anthem in 2017, Anthem

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    1     Wrestling?

    2     A.      No idea.

    3     Q.      Did your compensation or the amount that you were

    4     charging or being paid by Anthem Wrestling change at any

    5     point during 2017?

    6     A.      I’d have to go back and look.

    7     Q.      What is your current title, if any, with Anthem

    8     Wrestling?

    9     A.      I do not believe I hold an official title with

   10     Anthem Wrestling.      The title that is used when

   11     referencing me is executive vice president.           That’s as of

   12     2018.    Prior to that, it was vice president.

   13     Q.      When you say you don’t have an official title, I

   14     don’t understand what that means.         So what do you mean

   15     by, “an official title”?

   16     A.      I’m not an officer of the company.

   17     Q.      Why do you have an officer title then?

   18     A.      Ask your client.      He first gave it to me.

   19     Q.      Was my client with Anthem Wrestling in 2018?

   20     A.      Your client was with Anthem Wrestling in 2017,

   21     when I got my original vice president title.

   22     Q.      So who gave you the title of executive vice

   23     president in 2018?

   24     A.      Myself.

   25     Q.      So you just decided that’s the title you wanted to

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    1     give yourself?

    2     A.      I suggested the title to Ed Nordholm.

    3     Q.      Why did you suggest changing your title from vice

    4     president to executive vice president?

    5     A.      Scope of work change.

    6     Q.      What was the scope of work change?

    7     A.      Had to take on additional duties and time.

    8     Q.      What additional duties did you take on?

    9     A.      Originally, was engaged to report to Jeff Jarrett,

   10     and with Jeff’s departure, I had to assume some of Jeff’s

   11     duties.

   12     Q.      What duties did you have as vice president of

   13     Anthem Wrestling in 2017?

   14     A.      Sat in creative meetings; production meetings; was

   15     involved in the–- in the production of the t.v. broad-

   16     casts; consulted with senior members on business

   17     decisions or direction; negotiated on behalf of Anthem

   18     Wrestling with partners, both in the wrestling business,

   19     and I’d have to go back and look, but I believe some

   20     third party vendors.

   21     Q.      Are you an owner of Anthem Wrestling?

   22     A.      Repeat the question, please.

   23     Q.      Are you an owner of Anthem Wrestling?

   24     A.      Can I get clarification on the term, “owner”?

   25     Q.      Do you hold any membership interest in Anthem

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    1     Wrestling?

    2     A.      I do have some shares in–- sorry.         Pardon–- I do

    3     not have shares in Anthem Wrestling.

    4     Q.      Have you ever had shares in Anthem Wrestling?

    5     A.      I did have shares in Anthem Wrestling.

    6     Q.      When did you have shares in Anthem Wrestling?

    7     A.      Acquired them in 2018.

    8     Q.      Alright.    How much did you pay to acquire those

    9     shares?

   10     A.      I honestly don’t know if I can disclose the terms.

   11     Q.      Well, we’ll designate this portion subject to the

   12     protective order which is in place, which means it can’t

   13     be shared with anyone outside this lawsuit.           If you

   14     believe it is highly confidential, we can designate the

   15     portion of this transcript as attorney’s eyes only, in

   16     which case, my clients won’t be able to see this.              Which

   17     of those designations would you like to apply to your

   18     testimony?

   19     A.      I think if we go down this–- I think if we go down

   20     this route, I need to step down and get a U.S. attorney

   21     to represent me.

   22     Q.      Are you refusing to answer this question?

   23     A.      I’m saying I don’t know if I’m allowed to or–- or

   24     should answer this question.

   25     MR. LEE:        On behalf of Anthem Wrestling, I believe you

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    1     can proceed and we’ll designate it as highly

    2     confidential.

    3     MR. MILLER:         That was Mr. Lee speaking.

    4     MR. LEE:        Yes, Mr. Lee speaking.

    5     Q.      So, Mr. D’Amore, how much did you pay for your

    6     shares in 2018?

    7     A.      Can I have a moment to speak with my counsel?

    8     Q.      I’m sorry, you cannot, unless you are asserting

    9     privilege over this information, and so, I don’t know how

   10     this would ever be privileged, so I need you to answer

   11     the question.

   12     A.      Please repeat the question.

   13     Q.      How much did you pay for your shares in Anthem

   14     Wrestling Exhibitions, LLC in 2018?

   15     MR. LEE:        Objection to form.      Just, we’re referring to

   16     them as shares, but it’s membership interest, is that

   17     correct?    Just for–-

   18     MR. MILLER:         I would–-

   19     MR. LEE:        –-clarity.

   20     MR. MILLER:         –-assume it is the membership interest.

   21     MR. LEE:        Right.    I just want to make sure we’re

   22     being...

   23     MR. MILLER:         Your client said, “shares”.       He–-

   24     MR. LEE:        (Interposing) Yes, I understood.         I just

   25     wanted to clean that up.

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    1     EXAMINED BY MR. MILLER:

    2     Q.      This is Mr. Miller speaking.        Mr. D’Amore, how

    3     much did you pay for your membership interest in Anthem

    4     Wrestling Exhibitions, LLC in 2018?

    5     A.      I don’t believe I paid anything.

    6     Q.      Okay.    How many shares did you receive of Anthem–-

    7     or how many membership interests did you receive from

    8     Anthem Wrestling, LLC–- strike the question.           How many

    9     shares–- how many membership interests in Anthem

   10     Wrestling Exhibitions, LLC did you own in 2018?

   11     A.      Don’t know.

   12     Q.      How did you come to own the membership interests

   13     in Anthem Wresting Exhibitions, LLC in 2018?

   14     A.      I believe that I first received–- sorry, what’s

   15     the proper term?

   16     Q.      Membership interest.

   17     A.      I believe I first received membership interests as

   18     part of signing my contractor agreement with Anthem

   19     Wrestling, and then I received subsequent shares as part

   20     of financing arrangement.

   21     Q.      When you say, “subsequent shares”, what do you

   22     mean by subsequent shares?

   23     MR. LEE:        Objection to form.       Ryan Lee, objection to

   24     form.    Continue.

   25     Q.      You can answer.      Go ahead.

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    1     MR. PICKARD:          Object to form.

    2     A.       Sorry, can you repeat the question?

    3     Q.       Sure.    What did you mean by subsequent–- I think

    4     you said, “subsequent shares”?         Mr. Lee may object

    5     periodically through this and that’s to preserve his

    6     evidentiary objections.       So you need to answer the

    7     question despite his objection.         So my question to you

    8     is, when you said, “subsequent shares”, what did you mean

    9     by subsequent shares?

   10     A.       What’s the proper term, membership interest?

   11     Q.       Sure.    Did you mean subsequent membership

   12     interest?

   13     A.       Can you read back what I said, please?         No.

   14     Q.       So here’s my question, and let me make it very

   15     simple, and it’s going to be *inarfling. (phonetic

   16     spelling)       You acquired shares–- or you acquired

   17     membership interest in Anthem Wrestling Exhibitions, LLC.

   18     You said later you received subsequent shares in some-

   19     thing.    What did you receive subsequent shares in?

   20     A.       I believe subsequent membership units, as part of

   21     a financing arrangement with Anthem Wrestling.

   22     Q.       So you attained subsequent membership–- you

   23     attained additional membership units in Anthem Wrestling

   24     Exhibitions, LLC, is that right?

   25     A.       Yes.

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    1     Q.       And you said you no longer own those membership

    2     units in Anthem Wrestling.        Did you sell those membership

    3     units?

    4     A.       No.

    5     Q.       Where did the membership units go, if anywhere?

    6     A.       I don’t–- I don’t know the particular logistics of

    7     it, but I-- for lack of a more proper term, I swapped the

    8     membership interest in Anthem Wrestling out, I believe

    9     to–- for membership interest in a–- the parent company,

   10     or a different company or entity.

   11     Q.       Thank you.    So during this deposition today, we’re

   12     going to be using AgileLaw to show you electronic

   13     documents.     You should be able to use your laptop in

   14     front of you to scroll through the pages and to zoom in

   15     and enlarge the type if you need to see it if you have

   16     any vision issues, so that you can see it better.            On the

   17     screen before you should be, “Plaintiff’s second amended

   18     notice to take deposition of Scott D’Amore”.           Do you have

   19     that before you?

   20     MR. PICKARD:          Counsel, I apologize, but I’m using the

   21     software to show the client the document and it might be

   22     an issue with the document, but I’m not able to scroll

   23     it, it seems, unless I make it–- I don’t know if you know

   24     what I’m talking about but...

   25     MR. MILLER:         I do.   You’re unable to move it on the

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    1     screen?

    2     MR. PICKARD:         Exactly.      I can zoom in and out of the

    3     document, but not able to control what part of the page

    4     I’m looking at.

    5     MR. MILLER:         There’s no button in the top that

    6     allows–- has arrows up and down?

    7     MR. PICKARD:         Now my document just got taken away.

    8     Okay, we’re able to do it now.

    9     EXAMINED BY MR. MILLER:

   10     Q.      Do you recognize this deposition notice, as in,

   11     have you seen it before?

   12     A.      I’m just reading it right now.        Where’s the top

   13     half of it?

   14     MR. PICKARD:         Once again, counsel, I’m having

   15     difficulty with the software.         I’m able to zoom in on the

   16     document, and I can use the up and down arrows to get to

   17     a second page of your document.         But for example, if I’m

   18     zooming in on this document such that it’s readable on

   19     the screen, saying at the top in the middle, “United

   20     States District Court For the Middle District Of

   21     Tennessee At Nashville”, I’m unable to scroll down to see

   22     past the parties.      If I hit the down arrow, it jumps me

   23     to the second page.        There’s no scroll bar.

   24     MR. MILLER:         Yes.    How big is your laptop?      What’s

   25     the–-

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    1     MR. PICKARD:         It’s–-

    2     MR. MILLER:         –-screen size of your laptop?

    3     MR. PICKARD:         It’s 15 inches, 16 inches.       It’s

    4     regular–-

    5     MR. MILLER:         (Interposing) It should be–- sorry.

    6     MR. PICKARD:         There does not seem–-

    7     MR. MILLER:         (Interposing) It should be significant.

    8     It should be of a large enough size that your client can

    9     see.

   10     MR. PICKARD:         Yes, we can read the document.        I’m just

   11     unable to scroll it.         I’m unable to go down the page to

   12     see the second half of a page, for example, unless I zoom

   13     out so the entire page is on the screen and it makes it

   14     too small to read.

   15     MR. MILLER:         Counsel, I’m able to see what is on your

   16     screen.

   17     MR. PICKARD:         Okay.

   18     MR. MILLER:         And the size of which you’re blowing it

   19     up is an irregularly large amount.

   20     MR. PICKARD:         Well if I move to 50 percent, that is

   21     not readable.

   22     MR. MILLER:         Well,–-

   23     MR. PICKARD:         And–-

   24     MR. MILLER:         –-you currently have it blown up to 191

   25     or–- now you have it at 72 percent.          There is a fit-to-

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    1     width and fit-to-length button that should–-

    2     MR. PICKARD:         Okay.   I’ve just hit the fit–-

    3     MR. MILLER:         –-enable you to scroll.      Next to the zoom

    4     in buttons there’s an arrow, right to left.

    5     MR. PICKARD:         Okay.   Alright.    Just for the record,

    6     the percentages that you’re siting are not the ones that

    7     are on my screen.      However, I’ve hit fit-to-width, and

    8     the last thing I can see on the page is, “Defendant

    9     plaintiff-counterclaim”, half that word, and there is no

   10     mechanism to scroll down this page to see the rest of it.

   11     MR. MILLER:         Is that the fit-to-width or fit-to-

   12     length,–-

   13     MR. PICKARD:         If I hit fit–-

   14     MR. MILLER:         –-the height?

   15     MR. PICKARD:         Fit-to-height?     I see it all the way

   16     down to Exhibit 181, stamped in the bottom right corner,

   17     but the text is not readable.

   18     MR. MILLER:         It you put it at 100 percent, it is

   19     readable.

   20     MR. PICKARD:         I’m at 100 percent, and the last thing I

   21     can see is “Plaintiff second amended notice taking

   22     deposition of Scott D’Amore”, and there’s no mechanism to

   23     scroll down to see the rest of the page.

   24     MR. MILLER:         Counsel, you now have it at 144 percent,

   25     is what you’ve blown it up to.

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    1     MR. PICKARD:         Okay.   I’m just–-

    2     MR. MILLER:         (Interposing) You’re telling me you can’t

    3     read it, the normal size–-

    4     MR. PICKARD:         Mr. Miller–-

    5     MR. MILLER:         –-on a 15 inch screen.      Is that what

    6     you’re saying?

    7     MR. PICKARD:         I’m not sure.     You’re not in this room.

    8     I am zoomed at 100 percent.        The witness can testify to

    9     that, and the court reporter can look at the screen as

   10     well.

   11     MR. MILLER:         I can see exactly what’s on your screen

   12     and it is very, very large.        I am able to see what is on

   13     your screen and see what you’re scrolling through.

   14     MR. PICKARD:         I’m showing the screen to the court

   15     reporter so that she may take note of what is in the

   16     room.    I don’t know what you’re seeing.        Okay.    But it

   17     still remains that whatever zoom level I choose, no one

   18     is telling me how to scroll down a page in the software.

   19     MR. MILLER:         There is a scroll bar on the right side--

   20     MR. PICKARD:         (Interposing) There is–-

   21     MR. MILLER:         –-to enable you to--

   22     MR. PICKARD:         –-no scroll bar on the right side, and

   23     all I have is a–- my mouse turns to a, kind of a stop

   24     sign whenever I go over the document.

   25     MR. MILLER:         And you’re not able to–- it currently

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    1     looks like you’re zoomed at 144 percent.           Is that not

    2     accurate?     Is it 100 percent?

    3     MR. PICKARD:         It’s at 100 percent.      And when I’m

    4     looking at, again, as soon as the mouse gets overtop of

    5     the document, it turns to kind of a no smoking symbol or

    6     something like that.

    7     MR. MILLER:         Well here’s what we’re going to do.

    8     We’re going to send copies of these exhibits to Sharon.

    9     Hayley’s going to go send those to Sharon right now and

   10     have them print it out.       I–-

   11     MR. PICKARD:         Okay.

   12     MR. MILLER:         –-have significant doubts as to the

   13     inability to use this.       You are the first of several

   14     hundred people that I’ve used this deposition software

   15     with in this type of case.

   16     MR. PICKARD:         Alright, well...

   17     MR. MILLER:         And this is the first situation that has

   18     ever had a problem.

   19     MR. PICKARD:         Well I’m–-

   20     MR. MILLER:         (Interposing) And I find it frankly to be

   21     consistent with the overall lack of cooperation that has

   22     occurred.     So we’ll go print that out so that you have a

   23     hand copy of that.      If that extends beyond the three

   24     hours and causes us to extend beyond the three hours, so

   25     be it.    But I’m going to continue with my deposition

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    1     without these type of obstacles.

    2     MR. PICKARD:         That’s quite fine.

    3     EXAMINED BY MR. MILLER:

    4     Q.      Have you received a litigation hold notice from

    5     Anthem Wrestling in this case?

    6     MR. LEE:        Objection.    The extent calls for attorney/

    7     client communication.

    8     Q.      The existence of a litigation hold notice is not

    9     privileged communication so that’s not–- and the notice

   10     itself is not privileged.         The existence of it certainly,

   11     and cannot be disputed.       It is not privileged.       Have you

   12     received a litigation hold notice in this case?

   13     A.      I don’t even know what that is.

   14     Q.      Have you received any document from Anthem

   15     Wrestling telling you not to destroy any e-mails related

   16     to this lawsuit?

   17     A.      I don’t recall.

   18     Q.      Have you taken any steps to preserve any e-mails

   19     that mentioned Jeff Jarrett during the time period of

   20     2017 to 2018?

   21     A.      I don’t delete e-mails, so I wouldn’t have taken

   22     any specific steps that I know of.         I wouldn’t even know

   23     how to preserve, but I also don’t delete e-mails.            So

   24     they should still be on the server.

   25     Q.      Have you taken any–- have you been asked by any-

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    1     one at Anthem Wrestling to collect your e-mails for

    2     producing to counsel?

    3     MR. LEE:        Objection to the extent it requires

    4     attorney/client communication.         Proceed to answer.

    5     A.      Sorry, can Mr. Lee repeat that, please?

    6     MR. PICKARD:         Certainly.

    7     MR. LEE:        It’s our objection to the extent it calls

    8     for attorney/client communications, but otherwise you can

    9     answer.

   10     A.      Mr. Miller, can you repeat the question, please?

   11     Q.      Has anyone at Anthem asked you to collect e-mails

   12     to produce to counsel in this case?

   13     A.      No.

   14     Q.      What are your current responsibilities and duties

   15     as the executive vice president of Anthem Wrestling?

   16     A.      My contracted duties are to help prepare a

   17     business plan; to oversee the creative process; and to

   18     oversee the production scheduling in process for Anthem

   19     Wrestling.

   20     Q.      What job title, if any, do you have with Anthem

   21     Sports & Entertainment, LLC?

   22     A.      None.

   23     Q.      You said you have a contract to be the executive

   24     vice president of Anthem Wrestling.          Who is that contract

   25     with?

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    1     A.      I don’t have it here.       I’d have to look at–- I

    2     believe, to the best of my recollection, that it’s with

    3     Anthem Wrestling.

    4     Q.      Are you paid by cheque by Anthem Wrestling?

    5     A.      I believe so.     I’d have to ask my bookkeeper.

    6     Q.      What job title do you have, if any, with Fight

    7     Network?

    8     A.      None.

    9     Q.      What relationship do you have, if any, with Fight

   10     Media Group?

   11     A.      I’m not exactly sure what Fight Media Group is, so

   12     I–- I have no title with a Fight Media Group.

   13     Q.      Who do you report to at Anthem Wrestling?

   14     A.      Ed Nordholm.

   15     Q.      Anyone else?

   16     A.      No.

   17     Q.      Are you familiar with a management committee for

   18     Anthem Wrestling?

   19     A.      I’ve heard the term.

   20     Q.      Are you a member of the management committee for

   21     Anthem Wrestling?

   22     A.      I–- I made-- clarity.       I know that there’s a

   23     three-member committee of myself; Ed Nordholm; and Don

   24     Callis that oversee the business for Anthem Wrestling,

   25     but I don’t know specifically what that’s called.

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    1     Q.      How do you refer to that committee when you talk

    2     with Ed?    What do you call it?

    3     A.      The Golden Trio.

    4     Q.      The Golden Trio.      Does Mr. Nordholm report to the

    5     Golden Trio?

    6     A.      Sorry, that was a bit of a joke, but that is a

    7     term.    I–- we–- we just have calls and meetings together.

    8     We don’t officially refer by any title, and I report to

    9     Ed Nordholm, and I can’t comment on who Ed reports to

   10     after that.     Ed’s the president of Impact Wrestling.

   11     Sorry, Anthem Wrestling.

   12     Q.      Thank you.     Who, if anyone, reports to you at

   13     Anthem Wrestling?

   14     A.      I mean, I’m not exactly sure on the term, “reports

   15     to”, but Josh Lomberger, I would say probably reports, at

   16     least through–- communicates the majority with me.            Greg

   17     Bagarozy.     I mean, it’s hard because we–- we basically

   18     manage by committee with myself; Don; and Ed.            But I

   19     would say anything that deals with production or live

   20     events, mainly is something that I deal with.

   21     Q.      When did you begin managing by committee or

   22     participating in managing by committee?

   23     A.      I’d have to look.      It’d be–- it’d be right around

   24     the–- it would be right around the beginning of January

   25     of 2018.

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    1     Q.      In September of 2017, were you part of the

    2     managing my (sic) committee?

    3     A.      Sorry, just repeat the date?

    4     Q.      September 2017.

    5     A.      In–- and I’m not exactly sure on the dates.           But

    6     in August or September of 2017, Jeff Jarrett–- and if any

    7     of the words are incorrect, I’m happy to discuss

    8     correcting them-- but either stepped down, or was–- was

    9     relieved, or whatever temporary, to seek treatment for

   10     his drug and alcohol issues.        At that point in time, Ed

   11     Nordholm had asked myself; John Gaburick, who was a–- an

   12     employee of Anthem Wrestling, and Sonjay Dutt.            Pardon

   13     me.   Legal name, Retish Bhalla.        Ed Nordholm asked if in

   14     Jeff’s absence, if the three of us would oversee the–-

   15     the creative process and the production.           In essence,

   16     keep things moving while Jeff Jarrett was off dealing

   17     with his issues.

   18     Q.      How, if any, did your duties and responsibilities

   19     change when Mr. Jarrett went on leave?

   20     A.      Well previous to his leave, myself and Mr. Bhalla,

   21     certainly–- we had both been brought in by Mr. Jarrett,

   22     and I believe, although not absolute, that John Gaburick

   23     also reported to Jeff.       So, the basic arrangement was

   24     that the three of us would kind of oversee what had

   25     previously been parts of Jeff’s role, at least, on the

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    1     creative and production side of things until further

    2     notice.

    3     Q.      When you took over that portion of Mr. Jarrett’s

    4     responsibility, did your compensation change?

    5     A.      I’d have to go back and look.        But the–- I believe

    6     the terms of the compensation changed, but if you broke

    7     it out, it was–- wasn’t really a substantial change in

    8     the–- the pay, the earning, etcetera.          Under Mr. Jarrett,

    9     my compensation was set up in a loose configuration of a

   10     quasi per diem, quasi billed hours-type of situation,

   11     which I always thought was respectfully, not the greatest

   12     way to set it up, and it led to a lot more billable hours

   13     than I think anybody ever anticipated.          So in

   14     Mr. Jarrett’s leave, I basically agreed to a–- a set

   15     figure ‘til the end of the year.

   16     Q.      Okay.    How often, if at all, do you travel to

   17     Nashville for your work with Anthem Wrestling?

   18     A.      I mean, it can vary.       I think probably–- I don’t–-

   19     I don’t know if I was in Nashville at all between–- after

   20     our January events.       We held–- we have pay per view and a

   21     television taping in Nashville in January, and then I

   22     don’t–- I don’t know if I visited Nashville again, and if

   23     I did, I don’t recall, but I–- I’d have to go look at my

   24     travel records.      But I don’t know if I–- if I visited

   25     Nashville again until the–- and I’d have to look up when

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    1     it happened, but in the fall of this year, Kevin

    2     Sullivan, who was our–- his title was vice president of

    3     production.     Although I don’t think he was an officer

    4     either.    He departed and took a good amount of the post-

    5     production team that was in Nashville with him.            So when

    6     that happened, I had to get a little more involved in

    7     the–- in the production or more post-production aspect of

    8     our–- of our broadcasts and our production model.            So–-

    9     and again, I’d have to, subject to me going and looking

   10     at my–- my travel logs, I think it would–- probably in

   11     the last three or four months, I would say that I’ve been

   12     to Nashville, my estimate is three, three times in the

   13     last three or four months, which is probably

   14     substantially higher than I’d previously been post-2018.

   15     Or sorry, by the end of–- in 2017, to clarify.            In 2017,

   16     and the system under Mr. Jarrett, who was the chief

   17     creative officer and oversaw most aspects–- most aspects

   18     of the company, and to whom I reported directly to, we

   19     had our creative meetings and other meetings in

   20     Nashville.     But–- so my travel there was probably in ‘17.

   21     It was probably at least once or twice a month.            In ‘18,

   22     it was sporadic.      It was–- like I said, I don’t know if I

   23     made a trip at all in ‘19, after our events, and before

   24     Kevin Sullivan’s departure.        And since his departure,

   25     which I think was in September–- as I said, I think I’ve

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    1     made three trips to Nashville.

    2     Q.       When you made the last three trips to Nashville,

    3     who paid for your hotel in Nashville?

    4     A.       I did.

    5     Q.       Were you reimbursed by the company–- or I mean, by

    6     Anthem Wrestling?

    7     A.       I’d have to look and see, because I’m notoriously

    8     tardy.    I’m–- if I haven’t been reimbursed, I would be

    9     reimbursed by Anthem Wrestling for, I’ll say two of the

   10     trips, but certainly all of the trips but one.            The

   11     normal course would be for–- as a consultant, I usually

   12     book my own flights.       I book my own hotels.      I handle my

   13     own expenses.     It’s part of my invoicing, which, as I

   14     said, I get tardy with–- I file my expenses.

   15     Q.       So it’s your understanding that whether they have

   16     in the past, if you submit these–- it’s your under-

   17     standing that Anthem is going to reimburse you for the

   18     cost of your travel and hotel when you come to Nashville,

   19     if they haven’t already?

   20     A.       Yes, standard–- standard procedure for anybody I

   21     provide services for is for my fees and expenses.            I

   22     like–-

   23     Q.       (Interposing) How much of your working hours do

   24     you spend working on Anthem Wrestling projects or

   25     consulting?

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    1     A.      I don’t–- I don’t keep a docket anymore ‘cause I’m

    2     on a fixed rate.

    3     Q.      Would you say you spend most of your working hours

    4     now working for Anthem Wrestling?

    5     A.      I would say that I–- I spend substantial time

    6     working on–- on Anthem Wrestling projects, and–- and

    7     business.     To say–- and I’m–- I forget the term you used,

    8     but I run multiple projects; multiple clients, including

    9     my own.    And so I would not say that all my time–- or I

   10     couldn’t say the majority of the time, but I would say

   11     that substantial time is spent on Anthem Wrestling

   12     business, and probably by what the standards of what a

   13     normal full-time commitment would be, I would say that

   14     I–- I certainly probably put in those type of hours, but

   15     I’m–- would not say that they make up the–- and I don’t

   16     remember the term, whether it was majority, or what it

   17     was, but it’s–- it’s substantial time, but it’s not all

   18     or most of my time.

   19     Q.      And so, you had said more or less than 50 percent

   20     of your time, your working time?

   21     A.      I don’t break down my hours, so it would be a

   22     total guess.     Varies from day-to-day and week-to-week.

   23     And what needs to get done, I prioritize and get done,

   24     and if that means it’s a 10 hour day or a 12 hour day or

   25     an 18 hour day or 20 hour day, frankly, then it–- it gets

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    1     done.

    2     Q.       You previously mentioned Jeff Jarrett.         Who’s Jeff

    3     Jarrett?

    4     A.       Well Jeff Jarrett, I believe is your client in the

    5     matter.    Jeff is a well-known professional wrestler.           So

    6     I think Wikipedia or Google would cover who Jeff is,

    7     broadly.    Who Jeff is in relation to me, friend; some-

    8     times boss.     I guess, technically, still a business

    9     partner in Global Force Entertainment.

   10     Q.       Thank you for sharing that.       The reason I’m asking

   11     this, a jury or a judge is going to read this in the

   12     future and I’m just trying to be clear in our testimony.

   13     So I apologize if that seems like an obvious answer.             Did

   14     Jeff Jarrett introduce you to Mr. Nordholm?

   15     A.       Yeah, I had–- I don’t know when I first met Jeff.

   16     My guess would be, sometime probably through the 90's as

   17     we realized our paths have crossed so much.           We never

   18     actually know when we first met.         First met Jeff in early

   19     2000's, working with a different organization.            He then

   20     brought me to TNA, which was the predecessor to Impact

   21     Wrestling or Anthem Wrestling, and I spent years there

   22     working with him on that.         Left the industry, for the

   23     most part, until Jeff’s formation of Global Force

   24     Wrestling or Global Force Inc.         Helped him on some stuff

   25     there.    Provided some–- some equity for him to try to

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    1     start up.     Project subsequently never really got off the

    2     ground, unfortunately.       Jeff took a position with–- and I

    3     apologize.     I don’t know if it was Anthem Wrestling or if

    4     it was one of the predecessors, but it was a–- whatever

    5     corporate entity was overseeing the Impact Wrestling

    6     brand at the time.      I think that was in January of 2017,

    7     ‘cause I recall him calling me to tell me that he was

    8     going back to Impact, which was a shock to me, as he knew

    9     it would be.     And he had asked me if I would come down

   10     and as he said, “Come in for a couple of days”, and kind

   11     of see what they were doing, and just kind of give him

   12     my–- my thoughts and opinions, evaluation of how they

   13     were doing things.      So I originally said, “no”.        Jeff’s

   14     very persuasive.      He convinced me to come down, and as he

   15     said, “Spend a couple days and have some laughs” with him

   16     and Dutch, a long time associate of ours, and I did that.

   17     And, you know, as persuasive people do, Jeff was able to

   18     convince me to continue to come down on a somewhat

   19     regular basis.      Somewhere, I don’t know where–- oh, I

   20     first met Ed Nordholm, I was flying back from Toyko,

   21     Japan, ‘cause previous to Jeff getting me involved in the

   22     Impact or Anthem Wrestling business, I had been working

   23     at a deal for Global Force for Jeff to partner with a

   24     Japanese promotion, Pro-Wrestling Noah, and then Jeff

   25     went to Impact or Anthem.         He asked me to kind of try to

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    1     put the deal together.       I, at that time, was wearing

    2     almost more of a Pro-Wrestling Noah hat, ‘cause I do

    3     business with them, and Jeff was on the Impact or Anthem

    4     side and was able to put a deal together, and when–- when

    5     it came time to finalize it, the Japanese company, Noah,

    6     wanted to have Jeff fly over to be part of a press

    7     conference and a contract signing and everything else for

    8     the announcement of the agreement between Pro-Wrestling

    9     Noah and Impact, and Jeff said there was no way with

   10     family and work commitments that he could–- he could make

   11     it, so I–- he asked me if I would–- if I would go.             He

   12     said that–- that he–- he said he would.          By, “he”, I

   13     presume he meant Impact or Anthem would pay–- would pay

   14     my expenses to go to Japan as Impact Wrestling’s

   15     representative in Jeff’s place.         So it was odd because I

   16     had negotiated on behalf of Pro-Wrestling Noah with Jeff,

   17     but after getting the sign-off from the Japanese, I

   18     agreed.    I went over to Japan for the press conference

   19     and–- and the signing.       The contract signing was

   20     ceremonial.     The contract looked very legitimate but

   21     added a clause in it saying everything in the contract

   22     is–- is null and void and it forms no official partner-

   23     ship.     But it was more for the pomp and circumstance of

   24     the press conference and the–- the PR of it.           So, I

   25     remember reaching out to Jeff because they wanted to know

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    1     what to list me as, which is when Jeff said to–- he goes,

    2     “Well, list–- list yourself as vice president”.            And I

    3     go–- I go, “Okay”.      And we kind of had a chuckle,

    4     proceeded with the press conference that way.            I flew

    5     back from Japan and I remember landing in Minneapolis,

    6     St. Paul, turning my phone on, and it starts–- starts

    7     blowing up with “Congratulations” text messages, and

    8     “Welcome back” text messages and everything else.            And it

    9     was because apparently it had gotten out that I had

   10     signed this–- this contract as executive vice–- no,

   11     sorry, pardon me.      As vice president, excuse me, at the

   12     time, of Impact Wrestling.        So I was flying right to

   13     Nashville, and when I flew in, me and Jeff were kind of

   14     chuckling as we walked to his office.          We got to his

   15     office, and he–- Ed Nordholm was sitting in Jeff’s

   16     office.    They used to share an office in the main part of

   17     the facility that housed Impact or Anthem, and again, I

   18     don’t know when exactly it switched.          I think it was

   19     Anthem at this point.       But he was sitting there, and Jeff

   20     basically said, “Oh”.       He’s like, “Hey, have you guys

   21     met?    Scotty “D”, this is–- this is Ed Nordholm.          And Ed

   22     spun around with a big smile on his face.           Goes, “Oh,

   23     there’s my new vice president”.         And me and Jeff just

   24     belly laughed and Ed didn’t know what was so funny,

   25     because Ed was removed from the operations.           Ed had seen

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    1     the–- the pictures on Twitter, and I guess it included my

    2     joining the company as a vice president in his quarterly

    3     talent and industry, you know, communication that he

    4     does.

    5     Q.      That’s a good place to stop.        I’ll stop you right

    6     there, just because there’s a lot to unpack with every-

    7     thing you just said, and I didn’t want to interrupt you,

    8     but can I pause you there?        Would that be okay?

    9     A.      Yes.

   10     Q.      Thank you.     Alright.    So my question then, did

   11     Jeff Jarrett introduce you to Ed Nordholm?           The answer is

   12     yes, right?

   13     A.      Yes.

   14     Q.      Right.    And so you’re saying that Mr. Nordholm–-

   15     your announcement as vice president was before you ever

   16     met Mr. Nordholm, is that right?

   17     A.      I believe so, yes.

   18     Q.      Okay.    And so, is it your testimony today that

   19     Mr. Jarrett helped you get a job with Anthem Wrestling,

   20     or establish a relationship with Anthem Wrestling?

   21     A.      He didn’t get me a job.

   22     Q.      Okay.

   23     A.      He–- he asked for–- and I would borderline say

   24     pleaded with me–- to come down and consult for him,

   25     although I was paid by–- by Impact, but for him in trying

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    1     to restructure the Impact business.

    2     Q.      Okay.    So I’d like to know a little bit about your

    3     consulting background.       You said that you have consulted.

    4     Were you a professional wrestler at one point?

    5     A.      Yes.

    6     Q.      What was your primary persona?        And I don’t mean

    7     by your attitude, I mean the character or name that you

    8     went by.

    9     A.      I tried to, through the majority of my career--

   10     unless it was completely frowned upon or not wanted, I

   11     tried to use my–- my legal name.

   12     Q.      Alright.    Is it your understanding by using your

   13     legal name that you gave up the right to use–- is it your

   14     understanding that by using your legal name with one

   15     wrestling purveyor, that you gave up your right to use

   16     your legal name with some other purveyor of wrestling?

   17     MR. PICKARD:         Objection.

   18     MR. MILLER:         He can answer.

   19     MR. PICKARD:         Well you’re asking him to give his legal

   20     opinion.

   21     MR. MILLER:         I’m not asking for his legal opinion, and

   22     thank you for that.       He can still answer.      Even if it’s

   23     ultimately not admissible, he can still answer.

   24     EXAMINED BY MR. MILLER:

   25     Q.      So I’d like the answer to the question, please.

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    1     A.      I have no idea.

    2     Q.      Tell me all the companies that you have wrestled

    3     under the Scott D’Amore name, or whom you have wrestled

    4     under the Scott D’Amore name.

    5     A.      Well I think I–- I would neither remember, and we

    6     would use up the balance of our three hours going through

    7     that.

    8     Q.      How about a number?       Give me a number of

    9     companies, an estimated number of companies, which you

   10     wrestled under that name for.

   11     A.      Don’t know.     Dozens.    No way to pin it.

   12     Q.      So, more than 10?

   13     A.      I’d say, yes.

   14     Q.      That’s right.     More than 20?

   15     A.      Probably.

   16     Q.      Do you currently wrestle, professionally wrestle?

   17     A.      Not usually.     Last many years I’m still–- still

   18     say that–- I think I’ve had a handful of matches in the

   19     last many years, so.       And none, I think, well over a

   20     year.

   21     Q.      Alright.    Are you familiar with the term,

   22     “Kayfabe”?

   23     A.      Kayfabe?

   24     Q.      Yes.   Am I saying it wrong?

   25     A.      Kayfabe.

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    1     Q.      Kayfabe.    Are you familiar with the term,

    2     “Kayfabe”?

    3     A.      I am.

    4     Q.      What is Kayfabe?

    5     A.      I mean, you ask 10 people in the industry and you

    6     might get 10–- 10 different answers.          It’s an industry

    7     term for wrestling.       I believe came from its carnival

    8     roots, and it’s basically–- it’s how we protect or at

    9     least used to protect our secrets in the industry.

   10     Q.      What do you mean protect your secrets?          What does

   11     that mean?

   12     A.      Well there was a–- there was a day in time where

   13     wrestling existed and you–- or at least the industry that

   14     I was brought into originally, there was no–- there was

   15     no such thing as writers.         There was no talks about

   16     scripting or formatting or–- or planned finishes.            You

   17     presented professional wrestling as if it was a–- a

   18     contest, and the prevailing theory was that our industry

   19     works best when the fans–- you know, at least we can–-

   20     either they believe it’s real, or we allow them to have

   21     questions about–- you know, at least–- like, even if they

   22     think it may not be completely on the up-and-up, you

   23     know, you’re protected to the point where there’s always

   24     little things where they go, “Whoa”.          You know, I mean,

   25     “Shit, maybe”–- pardon my language.          You know, “Maybe

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    1     that was real”.      So, the prevailing belief for many years

    2     was that for the good of the industry and everybody in

    3     its well-being, you had to do everything you could to–-

    4     to try to–- and I don’t know the proper term, but protect

    5     the “legitimacy” of pro wrestling.

    6     Q.      So it’s essentially protecting or blurring the

    7     lines between reality and performance.          Is that...

    8     A.      Well somebody may say that.        That’s not what I

    9     said.    And it’s a protective philosophy to where we–-

   10     where we don’t share what or how we do what we do with

   11     anybody outside of the industry, and you had to be

   12     accepted inside of the industry in order to–- to be part

   13     of it, and you were–- you were expected, keep and hold

   14     those–- those secrets.

   15     Q.      So it’s a way–- a means of protecting the illusion

   16     that professional wrestling might be real.           Is that how

   17     you would describe it?

   18     A.      Yeah, somewhat.      I mean, I think that’s–- like I

   19     said, it’s a pretty hard term to describe because it

   20     covers everything from, you know, me not showing you,

   21     Mr. Miller how we–- we throw a punch that hopefully looks

   22     good and doesn’t harm you in any way, and that may go to

   23     the extent equally of, you know, if I’m–- if I’m a good

   24     guy and Mr. Pickard is a bad guy, or as we call them in

   25     the industry, good guys are Baby Faces, and the bad guys

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    1     are Villains or Heels.       Me and Mr. Pickard may be the

    2     best of friends, but if me and you, Mr. Miller, are Baby

    3     Faces and Mr. Pickard is a Heel, then me and you are

    4     going to travel together.         Me and you are going to eat

    5     together, and we’ll make sure that even if we’re all the

    6     best of friends, that nobody in public sees us talking or

    7     socializing with Mr. Pickard or any of the other Heels.

    8     Q.       Thank you for that explanation.        That helps.    I’d

    9     like to talk a little bit about the Amp’d content.             Are

   10     you familiar with the Amp’d content?

   11     A.       You’re referencing the GFW Amp’d tapings?

   12     Q.       Correct.

   13     A.       Yes.

   14     Q.       What involvement, if any, did you have in events

   15     that were taped and became the Amp’d content?

   16     REPORTER:        Sorry, can you repeat that?        There was a

   17     cough.

   18     MR. MILLER:         Sure.

   19     Q.       What, if any, involvement did you have in the

   20     event that was taped to create the Amp’d content?

   21     A.       Well by that point in time, I was–- whatever the

   22     proper term is.      I apologize if it’s shareholder or

   23     participating member or whatever.         I had a–- an ownership

   24     interest of some type in GFW.        Also had been working on–-

   25     working with Mr. Jarrett on deals, you know, to try to

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    1     establish relationships in the industry to be able to get

    2     the–- our business off the ground.         One of the things

    3     that we struggled with with Global Force, was that we–-

    4     there was nothing to touch.        There was nothing that was–-

    5     we couldn’t prove to people that we could produce a

    6     product because we had it.        You know, the wrestling

    7     industry in this day and age is very television-based,

    8     and although we had a good management team together with,

    9     you know, Mr. Jarrett; Mr. Sullivan; myself; Mr. Bhalla;

   10     we hadn’t, as Global Force, produced anything and

   11     Mr. Jarrett in–- I say respectfully, somewhat of a last

   12     ditch effort, decided that we should try to produce

   13     content to show people that we could produce and deliver,

   14     ‘cause that was, according to Mr. Jarrett, one of the big

   15     concerns, and it had been expressed by–- I forget who our

   16     agent was at the time, working on the television deals,

   17     ‘cause I did everything I could to assist Mr. Jarrett,

   18     both as an investor, which I did in good part to try to

   19     help him, and–- and also for–- like, I gave him my CV and

   20     let him use it freely, and that’s where I first became

   21     a–- and I–- I don’t understand the–- the U.S.

   22     connotation, but in Canada I would say, “Well, I had a

   23     vice president title with GFW or GFE”.          I was not

   24     actually an officer of the company, but I leant my–- my

   25     credibility, as it was, to Jeff and to Global Force, and

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    1     I tried to work with him on, you know, putting the stuff

    2     together, and then when the Amp’d events came along, Jeff

    3     asked me to–- to go to Las Vegas to, you know, to be part

    4     of producing the content.         So I, you know, reviewed the–-

    5     the formats and took part in the production meetings and

    6     helped produce, and ran the–- the go-position, per se.

    7     As we call it in the industry, the person who tells

    8     everybody when to go out.         The person who gives cues on

    9     what to do, you know, times, etcetera.          So I performed a

   10     lot of the same duties that I had in the past when I–-

   11     when I worked in the industry in a–- in a backstage or

   12     behind the scenes role.

   13     Q.      So based on–- and you’ve got a lot there I’d like

   14     to go through.      You said this was a last ditch effort to

   15     put together the content.         As I understand your

   16     testimony, it’s that, for people in the industry to get

   17     a t.v. deal, they really wanted a proof of concept, or

   18     they wanted the actual concept.         Is that what you’re

   19     saying today?

   20     A.      Yeah, what I’m saying, if last ditched–- sorry, it

   21     was the echoing.      The phone was echoing there for a

   22     second.    I–- I’m relaying what Mr. Jarrett relayed to me

   23     at the time, which was that we had been pitching, you

   24     know, the concept around in multiple places and had used

   25     a–- a couple of pretty well thought of Hollywood people

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    1     to try to get the–- the show greenlit with a network for

    2     broadcast, and we were not–- we were onto our second–-

    3     second, and I don’t know what their–- their role was,

    4     what the proper term is, but I’ll say agent, for lack of

    5     a better term at the time.         The second one was A. Smith

    6     & Company, and very well respected industry people,

    7     people in the–- in the television industry.           And we still

    8     weren’t able to get anybody to–- to pick it up.            So, the

    9     idea, you know, as best I understand it, was to–- to go

   10     there, produce this content to show that we could deliver

   11     what we were saying we could deliver product-wise, both

   12     as far as for being able to just deliver the content, and

   13     also, deliver the content at a level that would be deemed

   14     acceptable, appropriate, “good”, for cable network home.

   15     Q.      Alright.    So the purpose of this was to create

   16     essentially a pilot of 16 episodes for a t.v. deal.             Is

   17     that right?

   18     A.      Yeah, I–- and I mean, again, I’m going–- a lot of

   19     my dealings were directly with Mr. Jarrett.           He–- he

   20     originally was hoping that we could–- you know, he

   21     thought we might be able to take this “series”.            I don’t

   22     recall how many episodes.         But take it and get it aired–

   23     some–- but I thought–- was hoping we could make a deal

   24     with that content.      And I mean, ultimately, we weren’t

   25     able to, but I–- the idea was, we could show that we–- we

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    1     could produce the content, deliver the content, you know,

    2     and package together so that we could, in essence, you

    3     know, meet our deliverables.

    4     Q.      So, is it your testimony today that the Amp’d

    5     content was significant and important to Global Force

    6     Entertainment?

    7     A.      I would say that the production of the Global

    8     Force Amp’d content was us taking a shot at–- at going in

    9     and trying to produce a “series” to show that we could.

   10     The–- it not getting picked up, to me, was the near death

   11     blow to Global Force.       I own one of the largest wrestling

   12     content libraries outside of Vince McMahon in the entire

   13     world, and I’ve acquired hundreds, or probably if I go

   14     through it, thousands of hours of content, and content

   15     has value in two ways.       If it’s new, current, original

   16     content, it has the value of being now.          And then if it

   17     doesn’t have that, then the value–- the only value that

   18     it has of any real merit is the significant importance of

   19     it in history.      Like my library contains the only film

   20     footage of certain world title changes.          My–- my library

   21     contains Shawn Michaels’ third match.          You know, my

   22     library contains full rights to the original Star Cage

   23     Super event.     So, I would say that the production of the

   24     Amp’d series was–- was important in the sense that it

   25     was–- it was us taking our shot for the fences, ‘cause I

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    1     think we had pretty much exhausted our opportunities or

    2     options as far as for getting somebody to pick us up as a

    3     series without producing it, and there was many at the

    4     time who even questioned the idea of spending the

    5     resources to produce it.          Mr. Jarrett talked to me in

    6     advance.     I think one out of, not obligation, but out of

    7     respect, as the person who was providing a good chunk, if

    8     not the majority of his funding, but like I said, more

    9     respect than obligation.          And then I think also to–- to

   10     get my thoughts on it.       And my opinion at the time, and

   11     is still today, that our options at that time were to

   12     take a shot at it and see if we could get picked up, or

   13     you know, we were potentially dead in the water.

   14     Q.      How long did GFE shop the 16 hours of content to

   15     television network?

   16     A.      I’m not sure.     We’re going back quite a few years.

   17     It was a–-

   18     Q.      How long did–-

   19     A.      –-pretty significant amount of time.

   20     Q.      Would six months be a significant amount of time?

   21     A.      I mean, it could be.        It could be.   I mean, if

   22     you’re talking from inception to–- to completion, six

   23     months wouldn’t be, but by the time we shot Amp’d, we had

   24     already been shopping for, I think, it was well over a

   25     year and–- and it may–- I think it might have been well

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    1     into two.     So we were far down the road.        We had already

    2     gotten multiple rejections.

    3     Q.      Alright.    Are you aware that the production–- the

    4     completion of Kevin Sullivan’s production of the Amp’d

    5     content wasn’t completed until nearly the fourth quarter

    6     of 2016?

    7     A.      My understanding is that the completion of the–-

    8     the work wasn’t–- wasn’t done until it was–- it was

    9     prepared for–- for air through Anthem Wrestling.

   10     Q.      Okay.    How was it prepared through airing–- let’s

   11     talk a little bit about that.         You said it was aired

   12     through Anthem Wrestling.         How did that come to occur?

   13     A.      Mr. Jarrett, who, at the time, was the chief

   14     creative officer, and as Mr. Jarrett said to me, as one

   15     of the pitches for why I should–- I should consider

   16     coming and working with him on the Impact Wrestling

   17     project, was that he had–- he was–- the term they used,

   18     which I hadn’t heard previously, was chief creative

   19     officer.    But Jeff basically said that he had–-

   20     ultimately had the final decision on everything product-

   21     wise as far as for what made air; how we did the

   22     creative; who we hired.       And through that process, there

   23     was deliverables that we had to–- to meet, content

   24     requirements internationally.        These–- these contents

   25     were baked into our international deals, as best as I

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    1     understood it then and still do today, as–-

    2     Q.       (Interposing) Let me just pause you there.

    3     A.       Yeah.

    4     Q.       When you say, “we”, you’re referring to Anthem

    5     Wrestling?

    6     A.       Yes, sir.

    7     Q.       Okay.

    8     A.       So I–- so Anthem Wrestling or Impact Wrestling or

    9     TNA, or whatever the entity was at the time, had broad-

   10     cast deals in other countries, and part of it was

   11     domestically, we had our 52 week a year episodical

   12     television show.      And back in the original days when I

   13     worked with Jeff on TNA wrestling, which was the

   14     predecessor to–- to Impact, we did monthly live pay per

   15     views.    So our international agents had taken, you know,

   16     our properties.      When they shopped them, they basically

   17     said, “You get a weekly two hour episodical show, and

   18     you–- you also–- we can sell you this premium content,

   19     which is a three hour pay per view every month as well”.

   20     So at some point in time, and I don’t know when, but

   21     Impact Wrestling, I–- I think it–- the decision predated

   22     Anthem by quite a while.          Made the decision to stop doing

   23     monthly pay per views, ‘cause domestically they were–-

   24     they were not doing good business, and that left them in

   25     a position where they needed to still deliver a three

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    1     hour show to meet the–- the contractual requirements

    2     internationally.      So what, to my knowledge they did,

    3     predating when I went down to work with Jeff Jarrett on

    4     Impact or Anthem Wrestling, they would do block tapings,

    5     and they would basically, in a sound stage, they would as

    6     quickly and cheaply produce the additional content in the

    7     times when they were already at the studio to shoot the–-

    8     the main content for the weekly episodical.           And at that

    9     time, at least when I came to work with Mr. Jarrett and–-

   10     and Impact/Anthem, we were using–- we were back to using

   11     Universal Studios Orlando, and we would go down there and

   12     we would shoot contents in blocks.         So we–- we would go

   13     down.    We wouldn’t shoot one episode, or two episodes,

   14     we’d go, and over the course of multiple days–- like over

   15     the course of four days, we might shoot six episodes.

   16     Over the course of five days, we might shoot eight or

   17     nine episodes, whatever we could get out content-wise.

   18     Usually those–- those mainline content, the weekly

   19     episodical shows, were filmed in the evening.            So at some

   20     point in time, and this predates my rejoining, the

   21     decision was made, while we have everybody here, we have

   22     everything set up in the sound stage, we can go in in the

   23     afternoon, and we can shoot these monthly shows that we

   24     have to deliver.      At that point in time, they were–- they

   25     were a series–- a monthly series titled, “One Night

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    1     Only”.    And that way you–- they didn’t have any story

    2     line connection because we’d be shooting them so far in

    3     advance and you didn’t have to factor them into the–- the

    4     story arcs or anything.       It was basically just a way to

    5     meet the contract requirements of the international t.v.

    6     contracts.     So the idea was, while you have everything

    7     there; you have all the talent there; you’ve already flew

    8     them there; you’re already paying their fees; you already

    9     have a crew; you have everything paid for.           The only

   10     addition is bringing in some additional crew to actually

   11     shoot a matinee, in addition to the evening show, and

   12     the–- and some of the additional talent that was on a–- a

   13     day rate.     So you might have some–- some mid to lower

   14     card talent that you had to pay additionally, but all of

   15     your key players were on guarantees.          So I think the

   16     thought was that was the–- the cheapest way to–- to meet

   17     the content requirements, and they had certainly done

   18     that successfully for–- for a handful of years, I

   19     believe, with TNA, and then Impact Wrestling.

   20     Q.       So the Amp’d content was intended to replace the

   21     need for that additional time of producing the pay per

   22     view, correct?

   23     A.       Yeah, but the idea first came to me about using

   24     the Amp’d content from Jeff Jarrett.          It was a–- it was

   25     a situation where the–- producing those One Night Only

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    1     events were a–- were a drain on us as a very small group

    2     working on the creative and production of the–- of the

    3     Impact or Anthem shows.       They were not well attended.

    4     You know, the crowds could be sparse.          But the main thing

    5     was, we just darkened the arena, like old boxing looks.

    6     But the main thing was, we–- it would save us from having

    7     to shoot those matinee events.         And Jeff Jarrett brought

    8     the idea forward of taking those episodes and using them

    9     to fulfil some of the requirements for the–- the One

   10     Night Only series.

   11     Q.      Okay.    So, Mr. Jarrett suggested that.        That was

   12     after Mr. Jarrett had signed the letter of intent, right?

   13     A.      I–- I don’t know what letter of intent you’re

   14     referencing.

   15     Q.      Alright.    Did Mr. Jarrett, to your knowledge,

   16     provide authorization for–- well why don’t we do this?

   17     Mr. D’Amore, we’ve been going an hour and a half.            Do you

   18     need a five minute restroom break or other break before

   19     we proceed?

   20     A.      I–- I mean I’m fine taking a break now or a break

   21     in a half hour, whatever’s most convenient.

   22     Q.      Let’s take a five minute break now.         No longer

   23     than a five minute break, and then we’ll continue for the

   24     remaining one and a half hours of the deposition.

   25     A.      Okay.

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    1     MR. PICKARD:         Okay, that’s fine.

    2     MR. MILLER:         Go off the record.

    3     12:25–-DEPOSITION ADJOURNED.

    4     12:40–-DEPOSITION RESUMED.

    5     EXAMINED BY MR. MILLER:

    6     Q.      Mr. D’Amore, this is Mr. Miller again.          We took a

    7     short break there.      I hope to finish this up in the

    8     remaining hour and a half without another break, so we’re

    9     going to move pretty swiftly.         I will remind you that you

   10     are under oath and you’re still under the obligation to

   11     fully, completely, and honestly answer my questions.             Do

   12     you understand that?

   13     A.      Yes.

   14     Q.      I’m now showing you on the screen, what has been

   15     previously marked as Exhibit 60.         I thought we’d start

   16     off by us starting at 60.         In this case, we number

   17     exhibits consecutively.       All this means is that this

   18     exhibit has previously been shown in another deposition.

   19     I’ll direct your attention to the e-mail at the Exhibit

   20     60 from Amy Zach to you; Mr. Jarrett; Dirty Dutch; and

   21     others.    Do you recognize that e-mail?

   22     A.      I mean, I–- I don’t remember the e-mail, but it

   23     looks like it was sent to–- that’s Amy’s old e-mail.

   24     It’s not the e-mail I had for Jeff.          It has my old Global

   25     Force Wrestling e-mail address, which I–- which I was

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    1     still using well into ‘17.        That’s different–- Dutch.

    2     Yeah, I don’t–- I don’t recall the e-mail, but I’m

    3     looking at it right now.

    4     Q.      Okay.    Were you working for Anthem Wrestling at

    5     the time of this e-mail on March–- sorry, on May 8th,

    6     2017?

    7     A.      I was providing services in a non-contract

    8     consultant basis to–- to Jeff.         So I guess Anthem, I

    9     guess, through Jeff, since he was the chief creative

   10     officer.

   11     Q.      Alright?

   12     A.      Yes.

   13     Q.      So I’m now going to move onto another area.           One

   14     thing I neglected, for the record, let me apologize to

   15     Mr. Pickard and Mr. D’Amore.        It appears there was a

   16     software glitch.      When we logged back in with Mr. D’Amore

   17     as the witness, that solved the issue, and so Mr. D’Amore

   18     is using the electronic version at this point in time.

   19     I’m now going to show you what we’ll mark as Exhibit 182,

   20     which is an e-mail from Mr. D’Amore to Mr. Nordholm,

   21     dated 9/4/2017.

   22     EXHIBIT NO. 182:          An e-mail from Mr. D’Amore to

   23     Mr. Nordholm, dated 9/4/2017.

   24     Q.      Do you have that before you, Mr. D’Amore?

   25     A.      Yes.    Yes, I do.

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    1     Q.      And do you recognize this e-mail?

    2     A.      I mean, I don’t particularly recall it, but I have

    3     it in front of me.      I’m reading it right now.

    4     Q.      Alright.    Do you have any reason to believe that

    5     this is not a true and correct copy of an e-mail from you

    6     to Mr. Nordholm dated 9/4/2017?

    7     A.      I mean, I don’t–- I don’t recall it, but I–- it’s

    8     showing from my Impact Wrestling e-mail, which–- when is

    9     this from?     Yeah, ‘cause it was probably sometime in the

   10     summer I switched because Jeff and, I believe more so

   11     Karen Jarrett, Jeff’s wife, wanted me working out of my

   12     Impact account.

   13     Q.      Alright.    At the bottom of that e-mail it mentions

   14     the Triple Mania XXV appearance, where there was an issue

   15     with Mr. Jarrett backstage.        Do you recall that event

   16     occurring?

   17     A.      Sorry, just let me read the e-mail.

   18     Q.      It’s at the very bottom.

   19     A.      Got it.    Okay, I’ve read it.

   20     Q.      Do you recall having discussions regarding Jeff’s

   21     role with Anthem Wrestling with Mr. Nordholm around the

   22     time of this e-mail?

   23     A.      I don’t recall the specific dates, but I–- I do

   24     recall post-Triple Mania having a discussion with Ed

   25     Nordholm about Jeff taking a leave and–- and seeking help

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    1     with his issues.

    2     Q.      What, if anything, was said during those

    3     conversations with Mr. Nordholm?

    4     A.      Question, and I apologize, and it’s because I’m

    5     not familiar with U.S. law.          This deposition and the

    6     specific answers stay within the use of the parties and

    7     isn’t a public document?          Is–- is my question.

    8     Q.      Well, okay, there’s no limitations on its use.

    9     The purpose of it is for this deposition, but there’s no

   10     limitations on its use.       So, that’s the best I can answer

   11     for you.    That’s the law.       So my question is the same.

   12     What, if anything, was said during those conversations

   13     with Mr. Nordholm regarding Mr. Jarrett’s role with

   14     Anthem Wrestling post-Triple Mania XXV?

   15     A.      In and around this time frame, and I–- I don’t

   16     have dates.     I had–- I was in Toronto, another business.

   17     I requested to–- I actually asked Mr. Nordholm to come by

   18     an event I was at.      He couldn’t.     He had suggested that I

   19     come by the next morning to–- to the–- I don’t know if

   20     it’s the Fight Network office, or the Anthem office, or

   21     whatever office, to an office in Toronto for a coffee,

   22     and said we could chat there.         My intent was to let

   23     Mr. Nordholm know that I had informed Mr. Jarrett in

   24     Orlando at the last set of t.v. tapings, which was at

   25     some point in August, that I did not plan on continuing

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    1     to–- to work with–- with Impact Wrestling or Anthem

    2     Wrestling.     And then I had told Mr. Jarrett that I

    3     would–- didn’t want to cause trouble, but I wanted to, as

    4     quickly as possible, wrap up my–- my engagement as a

    5     consultant.     Mr. Nordholm brought up the issues of Triple

    6     Mania, which were several.        Involved Mr. Jarrett being

    7     extremely intoxicated, throwing tacos at the Mexican

    8     nationals backstage in catering.         ‘Cause when I first

    9     heard he was throwing tacos, I was like, “Yeah, that’s

   10     his stick.     When he goes out, he throws them at the

   11     crowd.    It’s–- it’s old fashioned, you know, Heel

   12     behaviour, but it’s–- it’s not uncommon down there”.              And

   13     I was told, “No”, he was doing it in the back.            He–-

   14     Q.       Now, Mr.--

   15     A.       –-tried to start a fight.

   16     Q.       Mr. D’Amore,–-

   17     A.       Oh, go ahead.

   18     Q.       –-was it tacos or just the shell of the tacos?

   19     Were they full tacos?

   20     A.       I’m going off of what I was–- heard.         I was not

   21     in–- in Mexico, but from multiple people, I was told

   22     tacos.    Now that could well mean the–- the shells.

   23     Q.       Alright.     So I’m asking you today just about what

   24     you have firsthand knowledge of.         So my question is for

   25     you, what, if anything, was said during your

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    1     conversations with Mr. Nordholm pertaining to Jeff’s role

    2     with Anthem Wrestling after Triple Mania XXV?            That’s my

    3     question.     So I’d–-

    4     A.      Okay.

    5     Q.      --like to know what in those conversations.

    6     A.      I’m sorry, I–- I stepped over your–- the end of

    7     your question.      I apologize.

    8     Q.      I’d like to know what was in your conversations

    9     with Mr. Nordholm regarding Mr. Jarrett’s role after

   10     Triple Mania XXV?      That’s my question.

   11     A.      Okay.    Mr. Nordholm had asked me if I was aware of

   12     what had happened at Triple Mania.         I said I had–- I had

   13     heard secondhand stuff.       He–- he kind of chatted with me

   14     a little bit about that.          He informed me that they had

   15     became aware, or it was clear, I don’t recall the words,

   16     that Mr. Jarrett had a substance issue.          Mr. Nordholm

   17     then just asked me about some other instances–- or

   18     incidents might be the better term–- that he had heard

   19     about with Mr. Jarrett’s behaviour.          So I answered his

   20     questions.      They were in relation to whipping crew with

   21     his belts; exposing himself; verbally abusive personally,

   22     like in-person and via text messages; getting verbally

   23     and physically abusive with an employee battling cancer.

   24     Q.      Alright.    Do you have any firsthand knowledge of

   25     any of this?

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    1     A.       I have firsthand knowledge of all of those.

    2     Q.       Of those, okay.

    3     A.       I was present when he exposed himself multiple

    4     times.    I was present when he screamed at people.           I was

    5     present when he and Mrs. Jarrett both screamed and cussed

    6     at Bob Ryder and called him many names and pushed him and

    7     many, many issues.      So I was–- the reason why I had–- I

    8     had told Mr. Jarrett that I was going to discontinue is

    9     because, while I have an abundance of respect,–- and I’ll

   10     use the term appreciation to try to avoid using the term

   11     love–- I have a longstanding relation with Mr. Jarrett,

   12     but he was in–- not–- he was impossible to work with at

   13     this point where he was in his life.          So I answered

   14     Mr. Nordholm’s questions.         I answered to what I had

   15     personal knowledge of.       I didn’t exactly look to

   16     volunteer information but he had heard rumblings.            He had

   17     obviously looked at–- or heard things, and looked into

   18     what was going on.      I answered him honestly, as my duty

   19     is to–- as a consultant, is to the company, and not who I

   20     report to, friend or not.         I gave him the information I

   21     had.    Mr. Nordholm informed me that it was Impact or

   22     Anthem’s position or belief that they would like to send

   23     Mr. Jarrett on leave, and he was concerned to hear that I

   24     had–- I had given my notice and was finishing up, ‘cause

   25     he was concerned with how things would continue in Jeff’s

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    1     absence while he seeked help.        Mr. Nordholm was also

    2     concerned because many key people in the company; Sonjay

    3     Dutt, or legal name, Retish Bhalla; Kevin Sullivan; my-

    4     self; all came in as–- as hired, in their cases

    5     employees, mine retained as a consultant.           And many of

    6     the previous employees that were there predating Jeff are

    7     people that Jeff originally brought in; Dutch Mantell;

    8     Jeremy Borash.      And Ed’s concern was how people would

    9     react to Mr. Jarrett being put on leave, and his concern

   10     was that everybody would abandon ship.          So I told

   11     Mr. Nordholm that I don’t think, in my opinion, that he

   12     should have a concern about the majority of people

   13     leaving.    I thought that it was two-fold.         One, I thought

   14     that everybody who knew Jeff and whether they–-

   15     regardless of their relationship with him, would see that

   16     he–- he needed help, and if they were people who were

   17     fond of him, they would want him to receive help.            And

   18     also I said, quite frankly, in my opinion to

   19     Mr. Nordholm, that everybody else that’s there–- the–-

   20     you know, the Abyss’; the Sonjays; the J.B.’s; the–-

   21     these people, this was a job to them, and they would–-

   22     regardless of any thoughts, they would–- they would stay

   23     on the job.     I didn’t think he was going to see everybody

   24     abandon, one, out of a necessity for them to continue to

   25     earn, and two, because as I said, if they were fond of

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    1     Mr. Jarrett, then anybody could clearly see that what

    2     Mr. Nordholm was looking to do was–- was in the best

    3     interest of the health and well-being of Mr. Jarrett.

    4     Q.      So based on your conversation, why did it appear

    5     that Mr. Nordholm was concerned with all of these

    6     employees leaving if Mr. Jarrett was simply going on a

    7     temporary leave of absence?

    8     A.      Mr. Nordholm was concerned to–- if Mr. Jarrett

    9     would accept going on leave and would seek help.            He–- he

   10     probably, like a lot of us, probably–- I mean, I can say

   11     I’ve had experience, unfortunately, with many friends and

   12     family with substance addiction, and as anyone who’s

   13     dealt with it knows, if the individual who has the

   14     problem isn’t willing to confront it, it can–- it can go

   15     quite badly.     And Mr. Nordholm’s concern, and I think

   16     it’s a valid one is, as somebody who’s headed up

   17     companies and projects, was concerned, and he stated–- so

   18     this part–- this portion I’m about to say isn’t

   19     speculation but is what Mr. Nordholm said to me.            His

   20     concern was if Jeff refused help and he had to be forced

   21     on leave and he was not amenable to it; if he was upset;

   22     if he was going to go on the offensive; his concern was

   23     that Jeff could get everybody there, or majority of the

   24     people working there at Impact or Anthem Wrestling to

   25     stop working; quit; to show their allegiance or support

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    1     of Mr. Jarrett.

    2     Q.       Okay.   That’s very helpful.      Thank you.    I’d like

    3     to move onto a different exhibit.         I’m going to show you

    4     what we have previously marked as Exhibit 50.            This

    5     should be on your screen.         And it is an e-mail from you

    6     to Mr. Nordholm; Mr. Dutt; and Mr. Gaburick.

    7     MR. MILLER:         G-A-B-U-R-I-C-K.

    8     Q.       Dated 9/17/2017.     Do you have that before you?

    9     A.       I do.

   10     Q.       Alright.   At the time Mr. Jarrett went on leave,

   11     are you aware of any permission Mr. Jarrett or Global

   12     Force Entertainment, Inc. gave Anthem Wrestling to air

   13     the Amp’d content?

   14     A.       Sorry, if I can have a–- do I need–- can I read

   15     this e-mail?

   16     Q.       Sure.

   17     A.       Clearly there’s a spell check mistake here.            A

   18     correction.      I’m just trying to figure out what I was

   19     saying.    Give me one minute.      Okay, thank you,

   20     Mr. Miller.      I’ve read the e-mail.

   21     Q.       Okay.   So, let me go back to my question.         My

   22     question was, are you aware of any authorization that

   23     Mr. Jarrett or Global Force Entertainment had given

   24     Anthem Wrestling to air the Amp’d content as pay per

   25     views?

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    1     A.      It’s my understanding, as per my discussion with

    2     Mr. Jarrett before it happened, Mr. Jarrett had came to

    3     me to talk about the idea.        It was Mr. Jarrett’s idea to

    4     use the Amp’d content, rather than tape One Night Only

    5     events in August, at our August tapings.           So Mr. Jarrett

    6     came to me.     I think both, out of respect, as I said, for

    7     the fact that I had an interest in Global Force

    8     Entertainment and provided the majority of the funding.

    9     Also, I think to get my thoughts on the idea, ‘cause it

   10     was something he had came up with.         And he talked to me

   11     about it.     I, at that time, you know–- we chatted briefly

   12     about it.     I thought it was a reasonable idea.         The Amp’d

   13     content was–- was decent content production value-wise,

   14     but as I’ve stated, you know, was–- was older footage,

   15     which I didn’t see a lot of use for, and if we could make

   16     use for it and it saved us having to do One Night Only’s,

   17     I told Jeff that I–- Jeff–- sorry, Mr. Jarrett, that I

   18     thought his idea was a good one.         I then know that Jeff

   19     came into the creative meeting, which would have all

   20     creative team members present, which I can state if you

   21     need them, that we would not be shooting One Night Only

   22     content at the August taping, and that we would be

   23     airing–- the Amp’d footage would be repackaged for a

   24     number of months to cover off the One Night Only

   25     requirements.

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    1     Q.       So I’m going to direct your attention back to

    2     Exhibit 50.     So, Exhibit 50 is a true and correct copy of

    3     an e-mail from you to Ed Nordholm and Sonjay Dutt and

    4     John Gaburick, dated 9/17/2017, correct?

    5     A.       It’s a document that I’m looking at.

    6     Q.       Do you have any reason to believe this is not a

    7     true and correct copy of that e-mail?

    8     A.       I would have to go into my e-mails and–- and

    9     compare it word for word.         Having read it, I would say

   10     that I’m–- I’m comfortable to say that if it’s not an

   11     original, I think it–- it, you know, for the most part.

   12     And if you want to go through it, it echos my thoughts on

   13     the situation.

   14     Q.       Great, thank you.     My question is, if you look at

   15     the second paragraph at the top of the first page of

   16     Exhibit 50, in your e-mail you write, “Do we have

   17     possession of the Amp’d shows?         If so, then let J.J. sue

   18     if he has the balls”.       In that sentence, J.J. is Jeff

   19     Jarrett, right?

   20     A.       Correct.

   21     Q.       And you said, “Do we have possession of Amp’d

   22     shows?     If so, then let J.J. sue if he has the balls”.

   23     What did you mean by, “Let J.J. sue if he has the balls”?

   24     A.       Jeff had made the decision for us not to capture

   25     content.    Us, Anthem Wrestling/Impact Wresting.          To

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    1     capture content at the August tapings, which had clearly

    2     obviously passed by this point, and we didn’t have

    3     content.    I was personally aware of the fact that Jeff’s

    4     intent and decision was to use the Amp’d content in its

    5     place.    So, with his being on leave and any concerns as

    6     far as for–- and I don’t have the e-mail that

    7     Mr. Nordholm must have, at some point, sent me or

    8     conversation we had.       So this is my opinion, that Jeff

    9     had total–- sorry, Mr. Jarrett had total control over the

   10     creative production and content for Impact or Anthem

   11     Wrestling, made a decision, his decision, with the

   12     authority, as I understood to do so, to use the Amp’d

   13     content instead of capturing content as we would have at

   14     Universal, and if he wanted to backtrack on that, it left

   15     us–- us, Anthem Wrestling/ Impact Wrestling, in a very

   16     bad position where we could potentially breach our

   17     contractural obligations to our broadcast partners over-

   18     seas, which could result in, to me, in my opinion, and

   19     I’m not a lawyer, but my business opinion, that that

   20     could cause irreputable harm because it could cancel

   21     contracts that were ultimately worth tens of millions of

   22     dollars when you add them up over the life of the

   23     contracts, and that the most logical thing for me to do–-

   24     and again, solely in my opinion on it–- was to, if we had

   25     the Amp’d shows, to follow through with the direction

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    1     that Jeff had set as chief creative officer, and to air

    2     the Amp’d shows.      And that if Mr. Jarrett had a problem

    3     with that, then he could–- he could pursue whatever he

    4     felt he, or Global Force was owed through legal means.

    5     It certainly was a less–- was the lesser of two evils

    6     between if it’s–- if it’s that versus the–- the idea of

    7     Impact or Anthem Wrestling breaching tens of millions of

    8     dollars in international obligations.          And frankly, at a

    9     point in time where I’d watched Mr. Jarrett deteriorate

   10     in his actions over the last few months.           As I told his

   11     wife, I hoped and prayed that he would get better and we

   12     would stay friends, but I also was not very happy that he

   13     dragged me into a situation where I was now dealing with

   14     the clean-up of the–- of the mess that he had caused.

   15     Q.      Alright.    Are you aware there’s the financial

   16     terms that Mr. Jarrett allowed–- let me try to rephrase

   17     this.    Did Mr. Jarrett and Global Force Entertainment

   18     allow Anthem Wrestling to use the Amp’d content for free?

   19     A.      At the time, when he was making the decision and

   20     he spoke with me about it, Jeff had said that this was an

   21     opportunity for us to maybe regain a little something

   22     back on the use of the tapes, and it also was going to

   23     give Global Force Entertainment potentially a–- well we

   24     were–- he was rebranding.         Mr. Jarrett had made the

   25     decision to rebrand Impact Wrestling/Global Force, and

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    1     we had already started that process on-screen.            And as

    2     part of the overall deal he was working on, he thought it

    3     gave us the chance to potentially look at doing something

    4     long term and to preserve the Global Force name and

    5     hopefully have some–- some value for us down the road,

    6     although the initial recoup was going to be not a lot off

    7     of the airing of the tapes.        Because when we chatted,

    8     Mr. Jarrett and myself discussed the cost of the

    9     production of the One Night Only events, and it was not

   10     substantial.     So what I mean, is for us to go in and to

   11     produce those One Night Only events, as had been the

   12     previous protocol before Jeff made this decision to use

   13     Amp’d instead, there wasn’t a lot of money in saying, we

   14     provided you these Amp’d shows and saved you a ton of

   15     money.    What Jeff said, we could reasonably expect, is

   16     what the cost of producing the One Night Only’s would

   17     have been, we can recoup on the Amp’d shows, and we can

   18     continue towards a larger relationship, hopefully, that

   19     would allow us to–- to recoup over time.

   20     Q.       Okay.   Well let’s stop there for a second and

   21     break this down.      So, in your e-mail you said, “Do we

   22     have possession of the Amp’d shows?          If so, then let J.J.

   23     sue us if he has the balls”.        If Mr. Jarrett had

   24     authorized the use of the Amp’d shows, why were you

   25     concerned about him having the balls to sue?           Why did you

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    1     think he was going to sue?

    2     A.      At that time, I was not in communication with

    3     Mr. Jarrett, but I–- I did have firsthand knowledge that

    4     Mr. Jarrett had leaked out to internet reporters, that

    5     the intended Impact Wrestling/Global Force Wrestling

    6     merger was not complete, and was in jeopardy with his

    7     being on leave.      I’m going back a ways here, but I know

    8     that Mr. Nordholm had expressed some concerns about Jeff

    9     potentially suing over the use, or being upset over the

   10     use of the Amp’d content.         Do not have firsthand

   11     knowledge on how the shows were delivered.           Wasn’t part

   12     of my scope of work at the time, so it’s a simple–- as I

   13     flush out my thoughts here and give my opinion.            If we

   14     have the tapes, then we should go ahead and air them.

   15     You’ll also see–-

   16     Q.      So–-

   17     A.      –-I continue on to provide Mr. Nordholm some

   18     alternatives, which I don’t think are ideal if he chooses

   19     not to do this, ‘cause it wasn’t my job to make the

   20     decision, my job to provide opinion, which I–- which I

   21     do, giving both my thoughts on what the preferred avenue,

   22     or most logical best avenue is to pursue, and then

   23     provide alternatives for the clients to make the

   24     decision.

   25     Q.      At the time you sent this e-mail, Exhibit 50,

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    1     Mr. Nordholm had told you the merger wasn’t going to

    2     happen, right?

    3     A.      It’s a long time ago and I don’t remember the

    4     particulars, but somewhere in and around the fall of

    5     ‘17–- and I don’t know if Mr. Nordholm said it wasn’t

    6     happening.     I know that I became aware that it’s–- it was

    7     certainly a possibility that it would not happen.

    8     Q.      Alright.    Mr. Jarrett was terminated on October

    9     23rd, 2017, correct?

   10     A.      I–- I don’t know what day he was terminated, but

   11     the–- the time frame seems in the–- in the area of

   12     accurate.

   13     Q.      Right.    And your recommendation, knowing that the

   14     merger was likely not going to close, was to go ahead and

   15     air the last two Amp’d One Night Only pay per views

   16     regardless, correct?

   17     MR. LEE:         Objection to form.

   18     Q.      You can answer.

   19     A.      Sorry, repeat the question again.         My apologies.

   20     Q.      So you knew–- let’s take this back.         Your

   21     recommendation, knowing that the merger was not likely to

   22     go through, was to go ahead and air the One Night Only

   23     Amp’d content part three and part four, correct?

   24     A.      My recommendation to Mr. Nordholm was–- and I

   25     believe there was discussions going around this time.             I

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    1     believe that I had told Mr. Nordholm–- I don’t recall if

    2     it was in writing or over the phone.          But I remember

    3     saying or writing, that if the door said D’Amore Group

    4     and not Impact Wrestling, that I would be airing the

    5     tapes, because respectfully, somebody, Mr. Jarrett, who

    6     Mr. Nordholm had turned over pretty much complete control

    7     of the creative and production obligations of a multi-

    8     million company, had in his sole discretion, made a

    9     decision to cancel affordable production alternatives to

   10     gain the–- to capture the content needed and choose to

   11     use the Amp’d content that he owned, or that Global Force

   12     Entertainment owned in its place, and that I would feel

   13     comfortable in front of a judge, if this again, was a

   14     D’Amore Group or D’Amore matter, going there and saying

   15     that this individual made all of these decisions in his

   16     sole discretion and right to do this, and that at this

   17     point in time, through his own doing, we’re now in a

   18     position where we are–- his own, Mr. Jarrett’s doing,

   19     where we’re scrambling to stay alive, and the last thing

   20     that we need is to breach our obligations, and my–-

   21     Q.      (Interposing) You left part of that–- you left

   22     something off from there, right?         Mr. Jarrett gave that

   23     permission to use it.       In exchange, he would be receiving

   24     ownership of the company, or some other type of

   25     compensation for letting Anthem Wrestling use that Amp’d

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    1     content, correct?      You’ve left that off your answer,

    2     right?

    3     A.       Well I would say that I wasn’t part of the direct

    4     negotiations between Mr. Jarrett and Mr. Nordholm, but

    5     that Mr. Jarrett had said we would use the Amp’d content,

    6     and that it could role into a larger scope of work or

    7     agreement between the parties.         And as I said, we had

    8     already started using the Global Force branding on air on

    9     the broadcasts.

   10     Q.       Right.   So you don’t have any firsthand knowledge

   11     of the terms by which Mr. Jarrett or Global Force

   12     Entertainment permitted Anthem Wrestling to use the Amp’d

   13     content, do you?

   14     A.       My opinion was based–-

   15     Q.       (Interposing) Not your opinion.        That wasn’t my

   16     opinion (sic).      I asked, do you have any firsthand

   17     knowledge of the terms by which Mr. Jarrett or Global

   18     Force Entertainment permitted Anthem Wrestling to use the

   19     Amp’d content?

   20     A.       My discussions with Mr. Jarrett, were that we were

   21     going to provide the Amp’d content, and we were going to

   22     look for a larger scoping deal.         And my belief still is,

   23     that you can’t cancel the events that are meant to

   24     capture the footage and then back out and say, “Well,

   25     screw you”, in essence.

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    1     Q.      I’m going to object as non-responsive.          So I’m

    2     going to ask you the question again.          You don’t have any

    3     firsthand knowledge of the terms by which Mr. Jarrett or

    4     Global Force Entertainment permitted Anthem Wrestling to

    5     use the Amp’d content, correct?

    6     A.      My firsthand knowledge comes through my

    7     discussions with Mr. Jarrett.

    8     Q.      Alright.    So you don’t have any knowledge of the

    9     term sheet.     You don’t know what the terms were on the

   10     term sheet, correct?

   11     A.      I believe that Mr. Jarrett may have shown me the

   12     term sheet, but I didn’t really read through it.            He kind

   13     of discussed it with me and made his decision.

   14     Q.      They don’t know the terms–- you don’t know the

   15     terms that were on the term sheet, correct?

   16     A.      I do not know the specific terms of the term

   17     sheets other than the knowledge given to me from

   18     Mr. Jarrett.

   19     Q.      Alright.    So you advised Mr. Nordholm to press

   20     ahead and use the Amp’d content, even though you didn’t

   21     know what the terms of permission to use that content

   22     were.    Is that correct?

   23     A.      I gave my opinion based off the fact that a senior

   24     officer in the company made the decision to cancel the

   25     events that would have provided the footage in a cost-

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    1     effective manner and replaced them with this arrangement.

    2     Q.      Alright.    And so you expected Mr. Jarrett and

    3     Global Force Entertainment to simply let Anthem Wrestling

    4     use the content for free.          Is that your testimony today?

    5     A.      I think if you read my e-mail, you’ll say that I’m

    6     certainly acknowledging that Mr. Jarrett and Global Force

    7     Entertainment, to which you know I’m still an interested

    8     party in, have their rights to come forward and push

    9     forward their claim.       When you’re looking at a situation

   10     where all the factors come together, including

   11     Mr. Jarrett’s false statement that the shows were air-

   12     ready, and it actually cost us more in post-production to

   13     get the shows ready, including having to re-voice them

   14     all.    I’m quite–- I was quite comfortable in stating my

   15     opinion to air the footage, and then to go through and

   16     let the situation play out, and be as it be.

   17     Q.      So you were betting on the fact in your experience

   18     of Mr. Jarrett that he wouldn’t have the balls to sue.

   19     He’d just let it happen.          Is that correct?

   20     A.      No, I would–- I would actually never say that

   21     Mr. Jarrett necessarily doesn’t have the balls to sue.

   22     He certainly is–- he’s a pretty proud man.           I was–- I was

   23     looking at it from an approach from business level of

   24     saying, with all of the ways that Mr. Jarrett had

   25     breached his engagement with Anthem, and all of the

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    1     issues that arose out of it, including the fact that

    2     Anthem had to pay more for the Amp’d shows than it would

    3     have to just capture the content at Universal, that if

    4     Mr. Jarrett decides to sue, then he can bring it, as he

    5     obviously has, and it can play out as it plays, but my

    6     opinion and strictly my opinion as engaged as a

    7     consultant, was that I found the claim to be weak, and as

    8     I said, if the door said D’Amore, we would air the

    9     content.

   10     Q.      Right.    You’re not a lawyer in Canada, are you?

   11     A.      I’m not a lawyer.      I’m a businessman.

   12     Q.      Right.    You’re not a lawyer in the U.S.?

   13     A.      I’m not a lawyer in Canada, the U.S., or any other

   14     jurisdiction.

   15     Q.      Do you have a law degree of any kind?

   16     A.      I do not have a law degree.

   17     Q.      At the time you sent this e-mail on 9/17/2017,

   18     Mr. Nordholm had already told you that Mr. Jarrett was

   19     not going to come back from leave with the same level of

   20     responsibility that he had when he was placed on leave,

   21     correct?

   22     MR. LEE:         Objection to form.

   23     MR. MILLER:         He can answer.

   24     A.      And again, I don’t know all the particular dates

   25     in the exact order, but I would say at some point in the

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    1     fall there, and I–- in and around September, certainly,

    2     Mr. Nordholm stated that there was a good probability

    3     that Mr. Jarrett would not return in the same capacity,

    4     and stated that partly that was for the stress level on–-

    5     on Mr. Jarrett.

    6     Q.      The truth here is, that Mr. Nordholm told you that

    7     Mr. Jarrett was not going to come back as chief creative

    8     officer.     He told you that in 2017, correct?

    9     A.      And again, the dates are all mixed together, but I

   10     do–- the problem is, I don’t know what I knew on

   11     September 17th, and I know that I was told at some point

   12     in the fall, that he would most likely not return in the

   13     same capacity, and then subsequently, I was told that he

   14     would potentially be returning in a–- more of an advisory

   15     capacity, but I don’t know when that was.

   16     Q.      So you don’t know whether that was in September of

   17     2017?

   18     A.      I don’t exactly know, sir.

   19     Q.      I’m now going to show what we’ll mark as Exhibit

   20     183, which is an e-mail from Mr. Nordholm to you, dated

   21     9/10/2017.

   22     EXHIBIT NO. 183:          An e-mail from Mr. Nordholm to

   23     Mr. D’Amore, dated 9/10/2017.

   24     Q.      Do you have that before you?

   25     A.      Yes, I do.

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    1     Q.      Alright.    This is a true and correct copy of an

    2     e-mail from Mr. Nordholm to you dated 9/10/2017, correct?

    3     A.      This is a produced e-mail from–- it appears to be

    4     from Mr. Nordholm to me.

    5     Q.      Do you have any reason to believe this is not a

    6     true and correct copy?

    7     A.      As I say, it’s–- it looks like an e-mail from

    8     Mr. Nordholm to me.

    9     Q.      This was sent on September 10th, 2017, correct?

   10     A.      That’s the date listed on the e-mail, yes.

   11     Q.      Alright.    And in this e-mail, there appears to be

   12     a spreadsheet.      There’s also an attachment to this

   13     spreadsheet that we’ll show you next.          But in the spread-

   14     sheet that is–- or the chart that is shown on the first

   15     page of Exhibit 183, has, “PPV”, and then, “YONO”.            The

   16     ONO is the One Night Only, correct?

   17     A.      Correct.

   18     Q.      And 135, do you know whether that that’s the

   19     amount of money that all of the One Night Only’s were

   20     expected to generate domestically?

   21     A.      I don’t know.     This was a sheet prepared by

   22     Mr. Nordholm–-

   23     Q.      (Interposing) So I’m just–- sorry.         I’m going to

   24     show you the attachment that we’ll mark as Exhibit 184,

   25     which is a spreadsheet.

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    1     EXHIBIT NO. 184:          A spreadsheet attached to the

    2     exhibit.

    3     Q.      I’m showing that to you now.        At the bottom of

    4     this, you’ll see a tab that says, “Salaries and wages”.

    5     I’m going to show that to you.

    6     A.      Okay.

    7     Q.      Do you have the salaries and wages tab before you?

    8     A.      I do.

    9     Q.      And if you look at row 26, it says, “Jeff Jarrett

   10     leave, 33 percent, September 2017”.          Do you see that?

   11     A.      Leave at 33 percent.       Yes.

   12     Q.      Alright.    And if you look at row “B”.        Not row

   13     “B”, column “B”, it says, “250,000”.          So that was

   14     Mr. Jarrett’s salary, which was going to be reduced to

   15     33 percent of that in September 2017.          Is that correct?

   16     A.      I believe that’s what they were looking at paying

   17     him while he was on leave.        Is that the–-

   18     Q.      (Interposing) So as of the date of this e-mail

   19     September 10th, 2017, at line 28, row–- or column “B”, it

   20     looks like you were being paid $84,000 a year in 2017.

   21     Is that correct?

   22     A.      That’s what Mr. Nordholm estimated for–- for me to

   23     stay on, isn’t it?

   24     Q.      And if you go to the left, where it says, “Column

   25     “A”, row 28”, it says, “D’Amore, Scott, see dollar 250K

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    1     starting January 1st 2018”.        Does that mean that you were

    2     being paid $250,000 starting January 1st, 2018?

    3     A.      That, I believe, is something that Mr. Nordholm

    4     had proposed to me.

    5     Q.      Is that ultimately how much you were paid under a

    6     consulting agreement, or under contract with Anthem

    7     Wrestling for 2018?

    8     A.      No, I was paid less, I believe.         That’s a Canadian

    9     dollar figure, I believe?         C250 “K”, and I would assume

   10     that would mean, Canadian 250.         But ultimately what I

   11     received was–- was considerably less.

   12     Q.      By considerably less, what do you mean?

   13     A.      I’d have to look at it.       I think that–- I’d have

   14     to look.     I think it was subbed 200 Canadian Dollars–-

   15     Q.      (Interposing) So, my question for you is, why was

   16     your salary increasing on January 1, 2018, if Mr. Jarrett

   17     was going to come back?

   18     A.      Well, I mean, I’m assuming if this is–- and this

   19     is again, totally a chart prepared by Mr. Nordholm.             So

   20     to look at this one again, it’s not my chart.            I can’t

   21     even do a spreadsheet, but this–- what is–- is this?

   22     What is this for?      So this shows Mr. Jarrett through 2018

   23     at 25,000.     Is that a quarter?      So it looks like a

   24     reduced salary.      I don’t know if that’s still his salary

   25     while on-leave or what.       And then, where am I?       Bear with

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    1     me.   Where was I?      Oh, wait, sorry.     I’m on the wrong

    2     line.     Oh, wait.    Does that show Jeff at 22?      Sorry.    My

    3     apologies.     I’m not good with spreadsheets.        Okay.    So it

    4     shows Mr. Jarrett at 22,479 per quarter.           Part of my

    5     discussions with Mr. Nordholm at the time was that–-

    6     there’s an echo.       Oh, it’s gone.    Was, I had–- I had said

    7     initially, when they met with me, that I would–- I would

    8     commit to at least seeing through a transition team,

    9     although I wasn’t sure that I wanted to commit long term

   10     to–- to providing services in that type of capacity to

   11     Anthem.

   12     Q.      Alright.      So I’m going to show you what we’ll mark

   13     as Exhibit 185, which is an e-mail from you to

   14     Mr. Nordholm, dated September 11th, 2017, that responds

   15     to this prior e-mail that I’ve shown you.

   16     EXHIBIT NO. 185:          An e-mail from Mr. D’Amore to

   17     Mr. Nordholm, dated September 11th, 2017, that responds

   18     to the prior e-mail that was shown to Mr. D’Amore.

   19     A.      Alright.

   20     Q.      This is a true and correct copy of an e-mail to

   21     you from Mr. Nordholm dated 9/11/2017, correct?

   22     A.      This looks to be an e-mail from 9/11 of ‘17, from

   23     me to Mr. Nordholm.

   24     Q.      Alright.      In it you explained some questions, or

   25     asked some–-

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    1     A.      Sorry, I can–-

    2     Q.      –-questions about–-

    3     A.      (Interposing) My apologies, Mr. Miller.          Can I

    4     read this?

    5     Q.      Sure.    Alright.

    6     A.      Sorry, I just need one more–-

    7     Q.      So–-

    8     A.      (Interposing) Sorry, I just–- I just need one more

    9     second.

   10     Q.      Okay.

   11     A.      Okay, I’m finished.

   12     Q.      Alright.    In the middle of the first page, go down

   13     to the second full paragraph.        You say, “Do we really

   14     plan on paying J.J. all the way through 2018”?            J.J. is

   15     Jeff Jarrett in that sense, right?

   16     A.      Correct.

   17     Q.      Why did you ask, “Do we really plan on paying J.J.

   18     all the way through 2018”?

   19     A.      Because I was engaged to look at how to make the

   20     Impact Wrestling/Anthem Wrestling project be able to

   21     self-sustain and live within its own revenue envelope.

   22     And as I said, I knew that Mr. Jarrett, at some point in

   23     time, was changing capacities, whether I knew that on

   24     September 11th or not, but I make a lot of observations

   25     here.    This is me as a consultant, asking for

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    1     clarification and understandings on various roles,

    2     including Mr. Jarrett’s.

    3     Q.      So you had an understanding that Mr. Jarrett–- at

    4     least as of September 11, 2017, you had an understanding

    5     that Mr. Jarrett likely wasn’t coming back, correct?

    6     MR. LEE:        Objection to form.

    7     A.      Well, it looks like–- that I have thought or had

    8     been informed at some point that he’s certainly being

    9     reduced, and I’m asking questions.         I ask about his

   10     compensation.      I ask about Abyss’; Gail’s; different

   11     agents.     I was tasked with taking a company that was

   12     losing millions of dollars, and trying to find if there

   13     was going to be a way for Anthem Wrestling to sustain

   14     itself on the revenue that it had or anticipated having.

   15     So I questioned all of these people, including

   16     Mr. Jarrett.

   17     Q.      Alright.    But your salary was going to increase in

   18     2018, while at the same time, you were asking whether

   19     they should continue to pay Mr. Jarrett in 2018, correct?

   20     A.      My salary, which as I said, doesn’t end up

   21     reflecting what’s in the spreadsheet, I don’t believe.

   22     It was certainly increasing because my time of work

   23     commitments for Anthem Wrestling were–- were being

   24     expanded.

   25     Q.      And they were being expanded because you were

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    1     taking roles previously held by Mr. Jarrett, correct?

    2     A.      I believe I was taking over duties that were–-

    3     were–- some were Mr. Jarrett’s and some were other’s.

    4     And at this point in time too, I’m–- I’m not retained, I

    5     don’t believe, in September.        That’s probably the

    6     difference in the comp, and at this point, I’m–- I’m

    7     committed to a transition.        Trying to help them do a–-

    8     seeing a transition through and trying to look for a way

    9     for them to be viable long term.

   10     Q.      Alright.    I’m now going to show you what we’ll

   11     mark as Exhibit 186.       This is a true and correct copy of

   12     an e-mail–- let’s try again.        Exhibit 186 is a true and

   13     correct copy of an e-mail from you to Ed Nordholm, dated

   14     September 11th, 2017, at 12:45 p.m., correct?

   15     A.      It appears to be an e-mail from me to Mr. Nordholm

   16     on September 11th, 2017.

   17     EXHIBIT NO. 186:          An e-mail from Mr. D’Amore to Ed

   18     Nordholm, dated September 11th, 2017, at 12:45 p.m.

   19     Q.      Do you have any reason to believe this is not a

   20     true and correct copy of that e-mail?

   21     A.      Or is that–- sorry.       Is that–- is–- are these

   22     dates month, date, year, or are they date, month, year?

   23     Q.      It is our understanding that these are month,

   24     date, year.     They are U.S.-set.

   25     A.      Okay.

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    1     Q.      So they’re in U.S. format.

    2     A.      Oh, yeah.    Yeah.    It says, “September 11th”, okay.

    3     Q.      Do you have any reason to believe this is not a

    4     true and correct copy of that e-mail?

    5     A.      It is an e-mail that’s produced and appears to be

    6     from me to Mr. Nordholm.

    7     Q.      On the third page...

    8     A.      Sorry, I’m just reading through here.

    9     Q.      Okay.    We’ll give you a moment.       Alright.

   10     A.      Sorry, I need another minute.

   11     Q.      Alright.

   12     A.      Okay.

   13     Q.      Alright.    Turn to the second page.       There’s an

   14     e-mail from–- and I’ll show this to you.

   15     REPORTER:        Sorry, counsel.     Where was that?

   16     MR. MILLER:         The second page.

   17     Q.      The second page.      Page two of Exhibit 186, there’s

   18     an e-mail dated September 11th, 2017, from Mr. Nordholm.

   19     At the bottom of that, he says, “Specifics in red below”.

   20     And if you go to the third page, which I will show you.

   21     A.      Sorry, can I read the second page first?

   22     Q.      Go ahead.

   23     A.      How do I pull–- how do I pull up the second page?

   24     Oh, thank you.

   25     MR. PICKARD:         Here.

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    1     A.       Okay, we can move to page three, Mr. Miller.

    2     Q.       If you go to the second paragraph, there’s a

    3     question from you that asks, “Do we really plan on paying

    4     J.J. all the way through 2018”?         That’s the question you

    5     had asked in the previous exhibit.         Mr. Nordholm’s

    6     response is, “I’d rather assume so for the purpose of

    7     illustration.     I don’t know where we end up with him, but

    8     we’d prefer a less disruptive path if it is available and

    9     affordable.     I doubt we pay him that, but one way–- need

   10     a provision in the plan to deal with his extraction”.             Do

   11     you know what Mr. Nordholm meant by a plan to deal with

   12     Mr. Jarrett’s extraction?

   13     MR. LEE:        Objection to form, if that’s the correct

   14     objection.     If you’re asking him what Mr. Nordholm meant,

   15     you should ask Mr. Nordholm.

   16     MR. MILLER:         I asked if he knows what Mr. Nordholm

   17     meant.

   18     A.       I didn’t–- I do not.

   19     Q.       Do you have any idea as to why Mr. Nordholm would

   20     have referred to Mr. Jarrett’s extraction?

   21     A.       It would be speculative for me to speak on what

   22     Mr. Nordholm thinks.       I read his–- his spreadsheet.        I’d

   23     give my thoughts, and he answers them.

   24     Q.       So, is it true that Mr. Nordholm had decided to

   25     remove Mr. Jarrett from the Anthem Wrestling business in

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    1     September of 2017?

    2     A.      I don’t know.

    3     MR. LEE:        Objection to form.

    4     Q.      Alright.    I’m now going to show you what we’ll

    5     mark as–- you mentioned previously that you owned a

    6     significant library of wrestling content, correct?

    7     A.      Correct.

    8     Q.      What is the going rate for one hour of wrestling

    9     content on, say Fox right now, the Fox network?

   10     A.      You can find that out from Fox.         I–- I know what I

   11     pay for wrestling content.        They’re apples and oranges.

   12     Q.      What do you pay for wrestling content?

   13     A.      Between 250 and 500 an hour.

   14     Q.      Is that fairly typical for an hour of content?

   15     A.      I mean, I think it varies greatly.         WWE was

   16     paying–- we’re talking archival content, to be clear?

   17     Q.      Yes.

   18     A.      If we’re talking about archival content, yeah, I

   19     think WWE at one point was paying 500 to 1,000, when–-

   20     when buying archival content.

   21     Q.      Okay.

   22     A.      And I know this because I bought a library for 500

   23     U.S. that–- ‘cause the gentleman selling it didn’t want

   24     it to go to WWE, so he showed me the–- their offer and

   25     asked me to match it.

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    1     Q.      That was 500 total?

    2     A.      Five hundred dollars per hour.

    3     Q.      Five hundred dollars per hour.        And if it was

    4     content that was going to be displayed on a network as

    5     in recently recorded content, what is the market rate for

    6     that?

    7     A.      Varies greatly.      You have everything from people

    8     that are providing their show with–- with not even barter

    9     arrangements and just want it on air, to people that are

   10     bartering where they get no money but they get some air

   11     time, to you know, things as high as WWE, which is

   12     clearly in a stratosphere all by itself.

   13     Q.      The WWE content, you said, “in a stratosphere”.

   14     What is WWE content worth per hour?

   15     A.      Don’t know.     You can look that up.      I think it’s

   16     public knowledge what their deals are.

   17     Q.      Well, do you know?

   18     A.      I don’t off the top of my head.

   19     Q.      Do you know how much a 52 week series running on

   20     Fox would be worth for wrestling content?

   21     A.      I do not.

   22     Q.      So the content you’re talking about buying for 500

   23     to $1,000, is pretty old historic content.           Is that what

   24     you’re saying?

   25     A.      I bought stuff that is both old–- I have stuff

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    1     dating back to the 40's and 50's, and I have stuff that’s

    2     certainly after turn of the millennia.          I mean, I really

    3     stopped acquiring content, or be less active acquiring it

    4     at least, other than when approached directly a handful

    5     of years ago.     So I probably have content up through,

    6     well into the 2000's.

    7     Q.      So in your experience, putting together, as being

    8     one of the people that was the go-guy, I guess.            Is that

    9     how you refer to them?       Or the go-person for the Amp’d

   10     content, the live productions, it wasn’t expected at that

   11     point in time that the content would be worth 500 to

   12     $1,000 an hour, correct?

   13     A.      I believe the hope was that–- and we–- we looked

   14     at some–- some deals.       They were–- they were not 500,

   15     although they weren’t great money, which is one of the

   16     reasons why we were trying to capture content on a–- on a

   17     budget substantially lower than previous projects we had

   18     done.    But as I said, ultimately, we didn’t get anybody

   19     to bite.

   20     Q.      The One Night Only content aired while you were

   21     involved with Anthem Wrestling.         That wasn’t $500 to

   22     $1,000 content, was it?

   23     A.      It was content that was baked into international

   24     agreements.

   25     Q.      It was worth a whole lot more than 500 to $1,000

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    1     is my point.     Am I wrong?

    2     A.      I think we were paying somewhere in the teens to

    3     20's to produce a three hour show.

    4     Q.      Alright.    And that was exclusive–- according to

    5     Mr. Nordholm, anyways, that was exclusive of the actual

    6     staging and set-up and lighting cost, right?

    7     A.      The One Night Only events were staged and lit

    8     using the already set-up staging, which we’d already

    9     rented, ‘cause you rent the sound stages by the day.             And

   10     when you do production, if you’re going to hang a light,

   11     the bulk of your cost is–- is hanging and rigging a

   12     light, or a piece of truss, or building a stage, or

   13     building a video wall.       And the–- the extra cost per

   14     day–- like the difference between using it for one day

   15     and three or four, is–- is a pretty small gap when you

   16     tack days on because the cost is mainly the cost of

   17     putting it up and striking it or taking it down.            Now the

   18     One Night Only events, as they were structured in 2017,

   19     for the tapings that we did them at, while I was working

   20     with Mr. Jarrett in Anthem, we didn’t actually even use

   21     additional days.      We were already paying for the sound

   22     stage, and we were already–- had already hung everything

   23     for a period of days.       So the concept was to go in and

   24     shoot while we already have paid for everything, and the

   25     additional costs, as I believe I stated earlier, was

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    1     mainly having to do an earlier crew call, and call

    2     production crew in earlier, which means you hit overtime.

    3     So it’d be the overtime charges on some of the production

    4     crew, and we went pretty bare bones.          And for the day

    5     rate people, talent-wise, it was–- it would–- there were

    6     some that we would have to add to the shows talent-wise,

    7     but that was pretty small.        Hence why I believe the

    8     actual cost over and above what we were already paying

    9     that was attributable specifically to One Night Only, was

   10     in the teens or 20's, I believe.

   11     Q.      Alright.    I’m going to move quickly.        I know we’re

   12     getting close to the end of the time here so I’m going to

   13     move pretty quickly through.        I’m going to a new exhibit

   14     now and I’m going to show you what we’ve marked as

   15     Exhibit 187.     This is a true and correct copy of an e-

   16     mail from Mr. Nordholm–-

   17     A.      (Interposing) Sorry, do I have to click on this?

   18     Q.      No, it should be there.

   19     A.      Oh, it’s not.     Hey, I got it.

   20     Q.      Alright.    So I–-

   21     A.      (Interposing) Okay, sorry, let me–- let me read

   22     this quickly.

   23     REPORTER:        Hold on.    What is it?     Go ahead, counsel.

   24     Describe it again, please.

   25     MR. PICKARD:         I believe it’s Exhibit 187.

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    1     REPORTER:        Yes, but what is it?

    2     MR. MILLER:          Exhibit 187 is an e-mail from Ed Nordholm

    3     to Ariel Shnerer, S-H-N-E-R-E-R, and others, dated

    4     9/19/2017.

    5     EXHIBIT NO. 187:          An e-mail from Ed Nordholm to Ariel

    6     Schnerer and others, dated 9/19/2017.

    7     A.       Again, I’ve read the top e-mail, at least, if

    8     that’s what we’re dealing with, the–- the correspondence

    9     that appears to be from Mr. Nordholm to Ariel–- I’ll

   10     butcher his name, Schnerer.

   11     Q.       Schnerer.

   12     A.       Schnerer.

   13     Q.       That’s correct.     Do you have any reason to believe

   14     this is not a true and correct copy of an e-mail from

   15     Mr. Nordholm to Mr. Schnerer, dated 9/19/2017?

   16     A.       Appears to be an e-mail from Mr. Nordholm to

   17     Ariel.

   18     Q.       Were you involved with the decision to stop using

   19     the GFW branding?      Let me be more clear.       Were you

   20     involved with Anthem Wrestling’s decision to stop using

   21     the GFW branding in September of 2017?

   22     A.       I believe I was asked my thoughts, but I also

   23     recall that it was–- it was something that sounded like

   24     Anthem was looking to move away from with the–- as far as

   25     for using the GWF (sic) branding overall.

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    1     Q.      Was it your understanding that Anthem Wrestling

    2     decided to move away from the GFW branding in September

    3     of 2017?

    4     A.      I don’t–- I don’t recall the–- the time frame.

    5     Q.      Do you recall when, not by month, but by quarter,

    6     when they decided to move away from the GFW branding?

    7     A.      I don’t.     I mean, it would–- I think by process of

    8     elimination, it would have to be some time after the

    9     Triple Mania incident, which I think was late August,

   10     and–- so I guess it would be late, in my best estimation.

   11     The earliest it could be would be late in Q3, although

   12     that seems quick.      Or it would be in the–- in Q4.

   13     Q.      Let me ask you a different question then.           To your

   14     knowledge, did Anthem Wrestling decide to move away from

   15     the GFW branding before the decision was made to

   16     terminate Mr. Jarrett?

   17     A.      I don’t recall.

   18     Q.      Do you recall having any discussions with

   19     Mr. Nordholm regarding moving on from the GFW branding?

   20     A.      I’m–- I would think that we had discussions, but I

   21     don’t–- I don’t recall them specifically at this time.

   22     Q.      Do you know why the GFW branding was dropped or

   23     moved away from?

   24     A.      I’m sorry.     Please repeat the question.

   25     Q.      Do you know why Anthem Wrestling moved away from

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    1     the GFW branding before Mr. Jarrett was terminated?

    2     MR. LEE:         Objection.     Form of question.

    3     A.      Yeah, I don’t recall.

    4     Q.      Alright.

    5     MR. MILLER:         Counsel, if you don’t mind, I’d like to

    6     take a three minute break, put together my final

    7     questions, and then we can go back on and try to close

    8     this out.      Would that be okay with everyone?

    9     MR. LEE:         Fine by me.

   10     MR. MILLER:         Okay.    So we’ll go off the record for no

   11     more than five minutes, so that we can do some final

   12     questions with Mr. D’Amore and then close the deposition.

   13     MR. PICKARD:         Okay.

   14     (OFF THE RECORD DISCUSSION)

   15     EXAMINED BY MR. MILLER:

   16     Q.      Alright.    We’re now back on the record.        I’m going

   17     to show you what we’ll mark as Exhibit 188, and hopefully

   18     this won’t take much.        I just want to confirm that your

   19     Twitter account is @scottdamore?

   20     A.      Yes.

   21     Q.      And what I’m showing you at 188, appears to be a

   22     true and correct copy of at least your Twitter account as

   23     it’s shown to that.       Is that correct?

   24     A.      It looks like my Twitter account.

   25     EXHIBIT NO. 188:          A true and correct copy of at least

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    1     the Twitter account.

    2     Q.      Okay.    And that’s your picture–- you’re the

    3     gentleman on the right in the circle–- or on the left in

    4     the circle?

    5     A.      Correct.

    6     Q.      Okay.    I’m now showing you what was previously

    7     marked as Exhibit 79–- or as 69.         I’m now showing you

    8     what’s marked as Exhibit 69, which is an e-mail from

    9     Mr. Nordholm to you, dated 12/21/2017.          Do you have any

   10     reason to believe this is not a true and correct copy of

   11     an e-mail from Mr. Nordholm to you, dated 12/21/2017?

   12     A.      It appears to be an e-mail from Mr. Nordholm to

   13     myself at my Impact Wrestling account from December 21st,

   14     2017.

   15     Q.      Okay.    In the middle it has an e-mail from you

   16     dated December 21st, 2017, at 6:20 p.m., were you say,

   17     “As we scrub away the Jarrett, what’s your thought on our

   18     top championship”?      What did you mean by, “As we scrub

   19     away the Jarrett”?

   20     A.      So December 21, 6:20?

   21     Q.      Correct.    But what did you mean by, “As we scrub

   22     away the Jarrett”?

   23     MR. PICKARD:         Well, maybe we let him read the entire

   24     e-mail?

   25     MR. MILLER:         Sure.

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    1     A.       God, I have a hard time moving this.         And then I

    2     hit this for the next page?         Okay.   Go ahead, Mr. Miller.

    3     Q.       What did you mean by, “As we scrub away the

    4     Jarrett”?

    5     A.       I think if you look at this e-mail exchange from

    6     December, it looks like the decision is–- is made to be

    7     Impact Wrestling.      I would think we–- I can’t recall if

    8     we did that before our November pay per view and tapings,

    9     or if we were–- if we were still GFW or if we switched to

   10     Impact then.     I know our ring was still six-sided, and

   11     I believe from reading this, it looks like–- certainly

   12     from the bottom of it, trying to differentiate Impact

   13     Wrestling from GWN, which was the–- the App name, Global

   14     Wrestling Netwood.      So I think there was discussions,

   15     ‘cause the–- the concept for the OTT platform, that at

   16     the time–- and I don’t think it was launched at this

   17     point.    I think it was still conceptual.         Was Global

   18     Wrestling Network.      I’m not sure who came up with the

   19     name, but it certainly was first heard by me in ‘17,

   20     during the time when Mr. Jarrett was there.           And the idea

   21     is that rather than do just an Impact Wrestling act with

   22     just Impact wrestling content, the idea was to go out

   23     and–- and pursue; foster; acquire, whether through barter

   24     or such other promotions.         So there was a discussion

   25     about calling.      ‘Cause one of the things was–- about

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    1     calling it the Impact Wrestling App, and it didn’t make

    2     sense.    So I think, because we talk about colour changes

    3     and stuff.     It’s trying to show the GWN App still had the

    4     green in it, I believe.       Going to the blue was the Impact

    5     Wrestling colours.      I believe in going to Impact

    6     Wrestling, the idea was to differentiate Impact Wrestling

    7     from the–- certainly the run respectfully in ‘17 with how

    8     it wound up with all the chaos at the end with

    9     Mr. Jarrett’s departure.          The idea was to try to find a

   10     way to come out of the blocks in ‘18 and say, “We’re new.

   11     We’re different”, because there had–- and I don’t want to

   12     just put this on Mr. Jarrett, but Impact Wrestling and

   13     TNA had gone through so many issues.          It was part of a

   14     branding exercise to say, “This is completely different.

   15     This gives them what you watched in ‘17 or even ‘16 and

   16     ‘15.    This is different.        This is fresh.    And we’re

   17     trying to get away from the term global, I think.            And I

   18     think here I’m asking about the championship because

   19     during Jeff’s–- Mr. Jarrett’s time in charge, he had

   20     switched our championship from being the world

   21     championship to the global championship to more match

   22     the–- the Global Force Wrestling brand, and I think, as I

   23     stay here and say, “Scrub away the Jarrett”, it’s just

   24     really a term of saying, let’s differentiate ourself

   25     from the Jarrett regime, as we often refer to in–- in the

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    1     industry when people are in control of the company.

    2     That’s what I’m–- I’m basically saying here, and it’s–-

    3     certainly comes at a time–- certainly after this, I was

    4     still certainly friendly with Mr. Jarrett.           So I think

    5     it’s more just a common term saying, “The Jarret regime.

    6     We’ve got to scrub away” because it was not–- there was

    7     not a good feeling in fans and people in the industry’s

    8     mouths about what had happened in ‘17.          Coming on the

    9     follies that predated it, there was hope in early ‘17

   10     with the change in regimes, and 2017 did not exactly go

   11     according to plan and it was–- it was a situation where

   12     it was a–- a public relations issue, and we had to figure

   13     out how to try to restore some luster to the brand.

   14     Q.      So is it your testimony that the public associated

   15     that colour green with Global Force Entertainment or

   16     Global Wrestling, Global Force Wrestling?

   17     A.      No.   What I’m saying, is the Global–- I mean,

   18     GFW’s ropes were green and its logo had green in it, but

   19     it’s certainly not the only company that’s–- that’s used

   20     green, but it certainly–- the thought process, I think,

   21     as I try to recall, was historically TNA Wrestling, which

   22     was the original company, had been red in a lot of its

   23     colour designs, and its ropes, and its accents.            Impact

   24     Wrestling had been blue, and Global Force Wrestling, when

   25     Jeff came in and brought it in and put it on television

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    1     on the–- on the Impact television show when he brought in

    2     the–- the GFW idea.       Which the idea was, the show was

    3     still Impact Wrestling, but the governing body, with

    4     Jeff’s intent, was going to be GWF.          So the titles were

    5     more from the GWF titles even though the show would be

    6     Impact Wrestling.      The idea at the time, was to

    7     differentiate ourselves and try to recall–- twofold.

    8     Recall a happier time with the blue, which was not a

    9     period I had been here for–- or been involved with

   10     wrestling for, but I was told that–- had maybe–- we might

   11     make a good shift from the green and show a change.             And

   12     also looking because the GWN colour remained green.             So

   13     the idea was, that Impact Wrestling itself was accented

   14     in blue, and the GWN was accented in green, and that that

   15     would be part of a differentiater–- if that’s the right

   16     word, or if that’s even a word–- for Impact Wrestling as

   17     opposed to GWN, which would continue to–- to be

   18     independent.     It would feature multiple companies in

   19     addition to Impact.

   20     Q.      Alright.    I’m now going to show you what we’ll

   21     mark as the last exhibit, and I simply want to know if

   22     this is the true and correct copy of this exhibit.            So,

   23     I’m now showing you what we’ve marked as Exhibit 189.                It

   24     is an e-mail from Mr. Adam McKeown, M-c-K-E-O-W-N, to

   25     Mr. Nordholm and others, dated January 10th, 2018.

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    1     EXHIBIT NO. 189:          An e-mail from Mr. Adam McKeown to

    2     Mr. Nordholm and others, dated January 10th, 2018.

    3     Q.      Mr. D’Amore, do you have any reason to believe

    4     this is not a true and correct copy of an e-mail from

    5     Mr. McKeown to Mr. Nordholm and others, dated January

    6     10th, 2018?

    7     A.      I don’t know who–- I’m not sure who Adam McKeown

    8     is.   This appears to be an e-mail from an Adam McKeown to

    9     Mr. Nordholm, with cc’s to a bunch of people, including

   10     myself.    So if I can just have a minute to read this.

   11     Q.      Sure.    I’m not going to ask you any questions

   12     about it other than that.         So if you–- that’s the

   13     questions that I have.       Mr. D’Amore, thank you for your

   14     time today.     Obviously, we reserve our right to re-direct

   15     if Mr. Lee or Mr. Pickard have questions, but I thank you

   16     for making time for us.       And at this point, I pass the

   17     witness.

   18     MR. LEE:        Thank you.    I just have a couple of follow-

   19     up questions.     Ryan Lee, attorney for Anthem Wrestling

   20     Exhibitions, LLC.

   21     EXAMINED BY MR. LEE:

   22     Q.      Mr. D’Amore, I just wanted to–- you had previously

   23     testified that you were and currently are an owner of

   24     Global Force Entertainment, is that correct?

   25     A.      I certainly have an agreement that says that I

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    1     would be issued shares.       I don’t recall per se, if the

    2     shares were issued, but I–- I don’t–- I don’t think that

    3     Mr. Jarrett has ever–- has ever disputed that–- that I–-

    4     he always referred to it as partner, but that I had–- I

    5     have shares or membership units, or whatever you would

    6     say in–- in Global Force Entertainment.

    7     Q.      And in 2017, did you have shares or ownership

    8     interest in Global Force Entertainment?

    9     A.      Yes, I did.     I–- I still do, to this day.

   10     Q.      And during 2017, did you ever tell anyone at

   11     Anthem Wrestling that they could not air the GFW and

   12     content?

   13     A.      I did not and–- nor would I have the–- the

   14     authority to.     Because as I stated previously, although

   15     I was–- and my Twitter handle, and my Facebook, I think

   16     both said I was the vice president of Global Force

   17     Entertainment and Global Forse Wrestling.           I was not

   18     actually a dually elected officer, and my understanding,

   19     and as Mr. Miller pointed out, I have no law degree, but

   20     my common business understanding is that my shareholding

   21     or membership units, or whatever they are, doesn’t give

   22     me the right to speak on behalf of the company any

   23     different than any other of my investments give me the

   24     right to speak on behalf of those companies.

   25     Q.      As an owner of Global Force Entertainment, you

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     1     could potentially–- let me strike that.          You had a

     2     monetary interest in the Global–- in the GFW Amp’d

     3     content, is that correct?

     4     MR. MILLER:        Objection to form.

     5     A.      I’m sorry.      Can you repeat the question?

     6     Q.      Sure.   You had–-

     7     REPORTER:        Hold on.    Hold on.

     8     MR. LEE:        Sure.

     9     A.      Sorry, sir.      I’ve been trying to hold off on

    10     coughing all through this.        Go ahead.

    11     Q.      Okay.   You had–- and we’ll say in 2017, a monetary

    12     interest in the GFW Amp’d content, is that correct?

    13     MR. MILLER:        Objection to form.      Mr. Miller.

    14     A.      I–- I did through 2017, have shares or some type

    15     of ownership interest in–- in Global Force Entertainment.

    16     I was given that or purchased that, whatever the

    17     arrangement was.      I provided funding to–- to Mr. Jarrett

    18     for–- for Global Force Entertainment.         I think I provided

    19     the–- the bulk of the funding for it to try to see if we

    20     could get the project off the ground, ‘cause obviously,

    21     we knew it was a long shot, and you know, we wanted to go

    22     out there and take our best efforts, and–- and we did.

    23     So yeah, I provided both the funding and acquired my

    24     shareholding or ownership interest or whatever in Global

    25     Force Entertainment through that, and then continued to

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     1     carry that through ‘17, and–- and still to this day.

     2     MR. LEE:       No further questions.

     3     MR. MILLER:        Mr. Pickard?

     4     MR. PICKARD:        I have no questions.

     5     MR. MILLER:        Alright.    This is Mr. Miller.      Thank you,

     6     Mr. D’Amore, for your time today.         I believe we are right

     7     on the nose with the three hours, so we appreciate you

     8     giving us that leaway as we took breaks and so forth.             At

     9     this point, the deposition is concluded.          Thank you.

    10                      .......................

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     1                          I hereby certify the foregoing to be

     2                          the Deposition of Scott D’Amore, a

     3                          witnesses herein, taken before me on

     4                          the 18th day of December 2019.

     5

     6                          CERTIFIED CORRECT:

     7

     8                          _________________________________

     9                          Sandy L. Breitenstein

    10                          Court Reporter

    11

    12                          CERTIFIED CORRECT:

    13

    14                          __________________________________

    15                          Sharon L. Masse

    16                          EBM - Court Reporting

    17

    18                          Photocopies of this transcript are not

    19                          certified and have not been paid for

    20                          unless they bear the original signature

    21                          of the reporter named herein and - EBM

    22                          Court Reporting and accordingly are in

    23                          direct violation of Ontario Regulation

    24                          587/91, Courts of Justice Act, January

    25                          1, 1990.

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     2

     3                            CERTIFICATE

     4

     5                             I, SCOTT D’AMORE, do hereby

     6             certify that I have read the foregoing transcript

     7             of my testimony, and further certify that said

     8             transcript is a true and accurate record of said

     9             testimony.

    10

    11

    12                              Dated at

    13

    14                              _________, this _________ day of

    15                              _____________, 2019

    16

    17

    18                              _________________________________

    19                              SCOTT D’AMORE

    20

    21                              Signed under the pains and

    22                              penalties of perjury.

    23

    24

    25

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     1                            ERRATA SHEET

     2     PAGE NUMBER         LINE NUMBER        REASON FOR CORRECTION

     3     _________________________________________________________

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